                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

TAMER MAHMOUD, et al.,                          *

       Plaintiffs,                              *

v.                                              *            Civ. No. DLB-23-1380

MONIFA B. MCKNIGHT, et al.,                     *

       Defendants.                              *

                                 MEMORANDUM OPINION

       In this lawsuit, parents whose elementary-aged children attend Montgomery County Public

Schools (“MCPS”) seek the ability to opt their children out of reading and discussion of books

with lesbian, gay, bisexual, transgender, and queer characters because the books’ messages

contradict their sincerely held religious beliefs about marriage, human sexuality, and gender. Last

school year, MCPS incorporated into its English language arts curriculum a collection of

storybooks featuring LGBTQ characters (the “storybooks” or “books”) in an effort to reflect the

diversity of the school community. Initially, parents could opt their children out of reading and

instruction involving the books, as they could with other parts of the curriculum. In March of this

year, the defendants—the Montgomery County Board of Education, the MCPS superintendent,

and the elected board members (collectively, the “School Board”)—announced that parents no

longer would receive advance notice of when the storybooks would be read or be able opt their

children out. Following the announcement, three families of diverse faiths filed suit against the

School Board, claiming the no-opt-out policy violates their and their children’s free exercise and

free speech rights under the First Amendment, the parents’ substantive due process rights under

the Fourteenth Amendment, and Maryland law.
       The parents have moved for a preliminary injunction that requires the School Board to give

them advance notice and an opportunity to opt their children out of classroom instruction that

involves the storybooks or relates to family life and human sexuality. ECF 23. The motion is fully

briefed. ECF 42, 43, 47. The parties have filed supplements in support of their positions. ECF

48, 49, 51, 52, 54, 55, 57. The Court held a hearing on the motion on August 9, 2023. ECF 50.

For the following reasons, the motion is denied.

I.     Background

       Montgomery County Public Schools is the largest public school system in Maryland and

one of the largest public school systems in the country. ECF 36, ¶ 39. As of fall 2021, it included

209 schools with approximately 160,000 students. Id. ¶ 38. Roughly 70,000 of those students

attended an elementary school. Id. The Montgomery County Board of Education is the entity

authorized by the State of Maryland to administer MCPS. Id. ¶ 36. It has authority to adopt

educational policies, rules, and regulations consistent with state law. Id. ¶ 37.

       The School Board believes that diversity in its community is an asset that makes it stronger

and that building relationships with its diverse community requires it to understand the

perspectives and experiences of others. ECF 43, ¶ 5. These values are memorialized in the School

Board’s Policy on Nondiscrimination, Equity, and Cultural Proficiency, which supports “proactive

steps to identify and redress implicit biases and structural and institutional barriers that too often

have resulted in” disproportionate exclusion and underrepresentation. Id. ¶ 6; see ECF 42-2.

Accordingly, the School Board strives to “provide a culturally responsive . . . curriculum that

promotes equity, respect, and civility” and prepares students to “[c]onfront and eliminate

stereotypes related to individuals’ actual or perceived characteristics,” including gender identity

and sexual orientation.    ECF 43, ¶ 6.      A critical part of the School Board’s approach is




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representation of diverse identities and communities in the curriculum. Id. ¶ 21. “Representation

in the curriculum creates and normalizes a fully inclusive environment for all students” and

“supports a student’s ability to empathize, connect, and collaborate with diverse peers and

encourages respect for all.” Id. ¶ 22.

       A. The Storybooks

       In October 2022, the School Board announced the approval of “over 22 LGBTQ+-inclusive

texts for use in the classroom.” ECF 36, ¶ 113. According to the associate superintendent for

curriculum and instruction programs at MCPS, Niki T. Hazel, the School Board introduced the

storybooks into the English language arts curriculum to further its system-wide goals of promoting

diversity, equity, and nondiscrimination. ECF 43, ¶¶ 23–26, 31. In the spring of 2022, the School

Board had determined that the books in its English language arts curriculum were not sufficiently

representative because they did not include LGBTQ characters. Id. ¶ 23. It initiated procedures

to evaluate potential new instructional materials that would be more inclusive. Id. ¶ 24. A

committee of four reading specialists and two instructional specialists engaged in two rounds of

evaluation and eventually recommended the approval of the storybooks, finding they “supported

MCPS content standards and performance indicators, contained narratives and illustrations that

would be accessible and engaging to students, and featured characters of diverse backgrounds

whose stories and families students could relate to.” Id. ¶ 26; see ECF 49-1.

       The plaintiffs have attached seven of the storybooks to their complaint. ECF 1-4, 1-6 –

1-11. Pride Puppy! chronicles a family’s visit to a “Pride Day” parade and their search for a

runaway puppy, using the letters of the alphabet to illustrate what a child might see at a pride

parade. ECF 1-4. Uncle Bobby’s Wedding tells the story of a girl who is worried that her soon-

to-be-married uncle will not spend time with her anymore, but her uncle’s boyfriend befriends her




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and wins her trust. ECF 1-6. Intersection Allies: We Make Room for All features nine characters

who proudly describe themselves and their diverse backgrounds and connects each character’s

story to the collective struggle for justice. ECF 1-7. My Rainbow tells the story of a mother who

creates a rainbow-colored wig for her transgender child. ECF 1-8. Prince & Knight tells the story

of a young prince who falls in love with and marries a male knight after they work together to

battle a dragon. ECF 1-9. Love, Violet chronicles a shy child’s efforts to connect with her same-

sex crush on a wintry Valentine’s Day. ECF 1-10. Born Ready: The True Story of a Boy Named

Penelope is about an elementary-aged child who experiences triumphs and frustrations in

convincing others what the child knows to be true—that he’s a boy, not a girl. ECF 1-11. Pride

Puppy! is for pre-kindergarten and the Head Start program; the other books are for kindergarten

through fifth grade. ECF 1-3; ECF 1-15, at 23. 1

       The plaintiffs contend state law requires MCPS to provide opt-outs from the storybooks

because, in their view, the books concern family life and human sexuality. The School Board’s

position is that the storybooks are part of its English language arts curriculum and opt-outs are

required only for the family life and human sexuality unit of instruction, a separate curriculum.

See ECF 43, ¶ 43.

       B. State and MCPS Opt-Out Policies

       Maryland law requires local school systems like MCPS to provide “a comprehensive health

education” that includes “concepts and skills” related to “family life and human sexuality.” ECF




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  In their preliminary injunction motion, the plaintiffs identify two additional books they object to:
What are Your Words? and Jacob’s Room to Choose. ECF 23-5. The former tells the story of a
child figuring out their pronouns. The latter depicts two gender-nonconforming children and their
elementary-aged class deciding to replace male/female bathroom signs with different, non-binary
signs. The School Board recommends these books as “Resources for Students, Staff, and Parents
– Affirming LGBTQ+ Young Adults.” See id. at 1–2.


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36, ¶¶ 84–87. This instruction must “represent all students regardless of ability, sexual orientation,

and gender expression.” Id. ¶ 89. Maryland law requires school systems to provide parents and

guardians with an opportunity “to view instructional materials to be used in the teaching of family

life and human sexuality objectives.” Id. ¶ 99 (citing COMAR § 13A.04.18.01(D)(2)(e)(iv)). Like

most other states that require or permit instruction on human sexuality in public schools, Maryland

allows for opt-outs from such instruction in certain circumstances and requires schools to adopt

“policies, guidelines, and/or procedures for student opt-out” and to provide alternative learning

activities. Id. ¶¶ 95, 100–01 (citing COMAR § 13A.04.18.01(D)(2)(e)(i) & (ii)).

       Separately, the School Board has adopted an opt-out policy for parents and students who

have religious objections to MCPS classroom instruction or activities. Id. ¶¶ 104–12. For the

2022–2023 school year, the MCPS School Board’s “Guidelines for Respecting Religious

Diversity” (“Religious Diversity Guidelines”) stated, in part:

       When possible, schools should try to make reasonable and feasible adjustments to
       the instructional program to accommodate requests from students, or requests from
       parents/guardians on behalf of their students, to be excused from specific classroom
       discussions or activities that they believe would impose a substantial burden on
       their religious beliefs. Students, or their parents/guardians on behalf of their
       students, also have the right to ask to be excused from the classroom activity if the
       students or their parents/guardians believe the activity would invade student
       privacy by calling attention to the student’s religion. When a student is excused
       from the classroom activity, the student will be provided with an alternative to the
       school activity or assignment.

       Applying these principles, it may be feasible to accommodate objections from
       students or their parents/guardians to a particular reading assignment on religious
       grounds by providing an alternative selection that meets the same lesson objectives.
       However, if such requests become too frequent or too burdensome, the school may
       refuse to accommodate the requests. Schools are not required to alter
       fundamentally the educational program or create a separate educational program or
       a separate course to accommodate a student’s religious practice or belief.

ECF 1-2, at 11–12.




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       C. The Plaintiffs’ Objections to the Storybooks

       The individual plaintiffs are Montgomery County residents of diverse faiths with children

enrolled in MCPS. ECF 36, ¶¶ 21–31. Tamer Mahmoud and Enas Barakat are Muslims with three

school-aged children, including a second grader. Id. ¶¶ 24–25. Jeff and Svitlana Roman are

members of the Roman Catholic and Ukrainian Orthodox faiths, respectively, who also have a

second grader in MCPS. Id. ¶¶ 27–28. Chris and Melissa Persak are Catholics with two

elementary-aged children enrolled in MCPS. Id. ¶¶ 29, 31. Each believes all persons should be

respected regardless of sex, gender identity, sexual orientation, or other characteristics. Id. ¶¶ 50,

59, 66, 76. Each also has religious objections to the storybooks.

       The individual plaintiffs have submitted declarations in which they describe their religious

beliefs and the grounds for their objections. Mahmoud and Barakat believe they have “a sacred

duty” to teach their children their faith, “including religiously grounded sexual ethics.” ECF 23-

2, ¶¶ 4, 14. Their religion teaches that mankind was divinely created as male and female and that

sex and sexuality are sacred gifts from God to be expressed through the forming of a spiritual,

marital bond that “entails sexually distinct but mutual duties and affections.” Id. ¶¶ 5–7. “Inherent

in these teachings” is the belief that “gender cannot be unwoven from biological sex . . . without

rejecting the dignity and direction God bestowed on humanity from the start.”                Id. ¶ 9.

Accordingly, they believe “humans attain their fullest God-given potential by embracing their

biological sex,” and their religion forbids medical procedures to alter the sex of a healthy person

and condemns the imitation of the appearance of the opposite gender. Id. ¶¶ 10–12. With respect

to instruction that uses the storybooks, they believe “there are detrimental spiritual consequences

from letting authoritative figures such as schoolteachers teach” their children “principles

concerning sexual and gender ethics that contravene” their faith. Id. ¶ 16. They view the books




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as undermining their efforts to raise their second grader because the books “encourage young

children to question their sexuality and gender, to identify with labels that categorize them by their

sexuality, to focus prematurely on romantic relationships, to disregard differences between men

and women, to accept gender transitioning, and to dismiss parental and religious guidance on these

issues.” Id. ¶ 19. They state it would conflict with their religious duties to intentionally expose

their son “to activities and curriculum on sex, sexuality, and gender that undermine Islamic

teachings . . . .” Id. ¶ 18. And because Islam “prohibits prying into others’ private lives and

discourages public disclosure of sexual behavior,” they state it would violate their beliefs and the

beliefs of their children if the children “were asked to discuss romantic relationships or sexuality

with schoolteachers or classmates.” Id. ¶ 17.

       The Romans’ faiths teach that all humans are created in God’s image with inherent dignity.

ECF 23-3, ¶ 4. Based on the teachings of their faiths, the Romans believe biological sex is a divine

gift that “entails differences in men’s and women’s bodies and how they relate to each other and

the world.” Id. ¶ 6. They believe “a person’s biological sex is both unchanging and integral to

that person’s being,” that “gender and biological sex are intertwined and inseparable,” and that

“humans attain their fullest God-given potential by embracing their biological sex.” Id. ¶¶ 10–11.

They also view human sexuality as a divine gift that “calls for an authentic and healthy integration

in the person” through the “virtue of chastity” and expression “only in marriage between a man

and a woman for creating life and strengthening the marital union.” Id. ¶¶ 8–9. They have “a

sacred obligation to teach these principles” to their son and “to encourage him at appropriate times

to embrace” their religious way of life. Id. ¶ 12. Based on these beliefs, the Romans believe that

“encouraging children to unwind” gender and biological sex will teach them that their bodies are

objects that may be disposed of at will rather than “a gift to be received, respected and cared for




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as something intrinsic to the person.” Id. ¶ 10. They view much of the content of the storybooks

as “false religiously and scientifically,” and they would prefer children “enjoy a time of innocence,

when it is not necessary for them to have detailed understanding of issues surrounding human

sexuality,” rather than for them to be encouraged “to focus prematurely on romantic emotions and

relationships.” Id. ¶¶ 13–14. Because their son “loves his teachers and implicitly trusts them,”

they believe instruction on “sexuality or gender identity” that conflicts with their faiths “is

spiritually and emotionally harmful to his well-being” and will significantly interfere with their

“ability to form his religious faith and religious outlook on life.” Id. ¶ 20.

       The Persaks, too, believe “all humans are created as male or female, and that a person’s

biological sex is a gift bestowed by God that is both unchanging and integral to that person’s

being.” ECF 23-4, ¶ 5. They view themselves as having “a God-given responsibility” to raise

their children in accordance with the tenets of their faith, including “the Catholic Church’s

teachings on the immutable sexual differences between males and females, the biblical way to

properly express romantic and sexual desires, and the role of parents to love one another

unconditionally and sacrificially within the confines of biblical marriage . . . .” Id. ¶ 7. They view

the storybooks as going “far beyond teaching kindness and respect,” to the point of imposing “an

ideological view of family life and sexuality that characterizes any divergent beliefs as ‘hurtful.’”

Id. ¶ 15. They believe the books encourage children “to question their sexuality and gender, ignore

important differences between men and women, approve gender transitioning, focus prematurely

on romantic relationships and sexuality, and dismiss parental and religious guidance on these

issues.” Id. ¶ 16. Because they regard young children as “highly impressionable to ideological

instruction presented in children’s books or by schoolteachers,” particularly “when ideological

instruction is imposed to the exclusion of other viewpoints,” they believe the books undermine




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their efforts to raise their children in their faith. Id. ¶¶ 13–14, 16. Accordingly, they believe

“exposing” their children to “viewpoints on sex, sexuality, and gender that contradict Catholic

teaching on these subjects is inappropriate and conflicts with” their religious duty to raise their

children in their faith. Id. ¶ 12.

        The individual plaintiffs’ concerns are shared by Kids First, an unincorporated association

of parents and teachers that formed “to advocate for the return of parental notice and opt-out rights

with respect to any instruction related to family life and human sexuality” in MCPS. ECF 36,

¶¶ 32–33. Kids First includes members of diverse faiths and is open to individuals of all faiths.

Id. ¶ 34. The association’s members believe in prioritizing the needs of children and “allowing

elementary-age children to be kids first, without prematurely exposing them to issues regarding

human sexuality, gender identity, and gender transitioning.” Id. ¶ 72. They believe parents have

the primary responsibility to decide how and when to instruct their children on such matters. Id.

¶ 73. And they believe they have religious obligations to ensure their children are taught about

family life and human sexuality in a manner consistent with their faiths. Id. ¶ 74.

        After the August 9 motion hearing, the plaintiffs submitted a declaration of Grace

Morrison, a board member of Kids First. ECF 52, ¶ 2. Morrison and her husband are Roman

Catholics and adhere to the Catholic Church’s teachings on marriage, family, sex, sexuality, and

gender. Id. ¶ 4. They believe gender is “interwoven” with sex and that “marriage is the lifelong

union of one man and one woman—distinct from each other, while complementary to each other—

and that the nature and purpose of human sexuality is fulfilled in that union.” Id. ¶ 5. Their ten-

year-old daughter has Down Syndrome and Attention Deficit Disorder. Id. ¶ 3. She is enrolled in

MCPS’s Learning for Independence Program, has an Individualized Educational Plan (“IEP”), and

is assisted by a full-time, one-on-one paraeducator. Id. The Morrisons believe they have a “sacred




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obligation . . . to form [their] daughter’s understanding of what it means to be a woman, to love

another person, the nature and purpose of marriage, and how to embrace the vocation she is called

to by God.” Id. ¶ 7. They believe their religious obligation is “pressured” by the storybooks,

which conflict with their religious understandings of marriage, sexuality, and gender. Id. ¶ 8.

Because of their daughter’s learning challenges, she does not “understand or differentiate

instructions from her teachers and her parents” and “will not be able to understand how or why”

the Morrisons disagree with the content of the storybooks. Id. ¶ 9. For these reasons, the Morrisons

believe “it is practically impossible” for them to contradict instruction involving the books. Id.

¶ 8. At the same time, because of their daughter’s needs, they do not believe they have “a clear

alternative” for their daughter’s education “except to remain in the public schools” and use public

school resources. Id. ¶ 10.

       The plaintiffs articulate strong objections to the storybooks. As a general matter, they

object to the introduction of concepts of gender identity, sexuality, and transgenderism to their

elementary-aged children. See ECF 36, ¶ 119. They note, for example, that Pride Puppy! includes

among a list of words to search for in its picture “[drag] king” and “[drag] queen,” “leather,”

“underwear,” and the name of a prominent sex worker and gay liberation activist. Id. ¶ 116. They

read it to “encourage unqualified support for pride parades,” without acknowledging pride parades

“often contain material that many parents find inappropriate for young children.” Id. ¶¶ 117, 131.

Similarly, they object to Intersection Allies because it defines sex, gender, and transgender and

asks readers what pronouns fit them best, and they object to Love, Violet because it depicts children

experiencing romantic feelings. Id. ¶¶ 136, 140–41. The plaintiffs believe the books, and the

School Board’s guidance on their use, promote “an ideologically one-sided view of issues” that is




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contrary to their faiths and their understandings of scientific evidence. Id. ¶ 132.2 They note the

resource guide for Pride Puppy! comes from the Human Rights Campaign, which they describe as

an “activist organization” that advocates for “sex positivity” and “ideological education on sexual

orientation and gender identity starting in kindergarten”; that the teacher’s guide for My Rainbow

“eschews analysis of the various other ways parents might appropriately help their children

experiencing gender dysphoria”; and that the resource guide for Born Ready encourages teachers

to respond to questions and comments about the main character’s “body parts” by suggesting

people only “make a guess” about gender at birth. Id. ¶¶ 120–32, 138, 141–44. In short, they

believe the storybooks “promote one-sided transgender ideology, encourage gender transitioning,

and focus excessively on romantic infatuation[.]” Id. ¶ 5.

       D. How Teachers Will Use the Storybooks

       The MCPS English Language Arts Framework and Core Learning Practices for English

Language Arts state in broad terms the goals and strategies of the curriculum, but they do not

provide specific guidance on the use of any particular texts, including the storybooks. See ECF

42-3; ECF 42-4. Hazel states MCPS teachers decide how they will use the storybooks in their

classrooms. ECF 43, ¶¶ 29–31. The MCPS Office of Curriculum and Instructional Programs

suggested teachers incorporate the books into the curriculum like any other book, “namely, to put

them on a shelf for students to find on their own; to recommend a book to a student who would

enjoy it; to offer the books as an option for literature circles, book clubs, or paired reading groups;

or to use them as a read aloud.” Id. ¶ 29. While the School Board expects “that teachers use the

LGBTQ-Inclusive Books as part of instruction,” as with all curriculum resources, teachers have a




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 The plaintiffs refer to scientific literature that is, in their view, consistent with their religious
beliefs. ECF 36, ¶¶ 145–51.


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choice “regarding which MCPS-approved materials to use and when to use them through each

unit” and may “choose among the texts” rather than being limited to a single book corresponding

to grade level. Id. ¶¶ 30–31. The School Board has stated “there [was] no planned explicit

instruction on gender identity and sexual orientation in elementary school, and that no student or

adult is asked to change how they feel about these issues.” Id. ¶ 30; see ECF 1-5, at 3. Rather, the

books will be “used to assist students with mastering reading concepts like answering questions

about characters, retelling key events . . . , and drawing inferences about story characters based on

their actions.” ECF 43, ¶ 31. In advance of the books’ introduction into the curriculum in the

2022–2023 school year, MCPS offered a professional development session on their use that drew

more than 130 participants. Id. ¶ 28.

       The plaintiffs take issue with some of the guidance the School Board has given to teachers

on how to use the storybooks. They refer to official MCPS documents and instructional materials

referenced in a November 15, 2022 Fox News article published on the New York Post website that

discussed the books. See ECF 1-5. The School Board has not disputed the accuracy of any

information in the article. The article discusses a PowerPoint presentation on the storybooks from

a professional development workshop held in August 2022. Id. at 2–4. That presentation appears

to have substantially overlapped with a document titled “Responding to Caregivers/Community

Questions,” which the plaintiffs also provide. See ECF 55-4. The proposed responses in this

document are comprehensive, and the Court shares only excerpts. If parents ask why children

should learn about sexuality and gender in school, or whether elementary school is too early for

such learning, educators might respond:

       The learning we’re talking about will happen through exposure to diversified
       gender and sexuality representation, not explicit instruction. Students are already
       learning about gender and sexuality identity in myriad ways. For example, when
       we read a story with a mom and dad, a Prince kisses a Princess at the end of a



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        fairytale. . . . Children are already learning about it and mostly see “straight” and
        “cisgender” representations around them. . . . By learning about the diversity of
        gender, children have an opportunity to explore a greater range of interests, ideas,
        and activities. . . . Beginning these conversations in elementary school will help
        young people develop empathy for a diverse group of people and learn about
        identities that might relate to their families or even themselves. It is never too early
        for schools to set up a foundation of understanding and respect.

Id. at 2. If parents express concerns that these ideas conflict with their values and ask whether the

lessons are teaching children to reject those values, educators might say:

        Absolutely not. . . . Teaching about LGBTQ+ is not about making students think a
        certain way; it is to show that there is no one “right” or “normal” way to be. . . .
        While one aim for learning about diversity is to become more accepting of those
        around us, not everyone will be best friends. . . . The purpose of learning about
        gender and sexuality identity diversity is to demonstrate that children are unique
        and that there is no single way to be a boy, girl, or any other gender. If a child does
        not agree with or understand another student’s gender identity or expression . . . ,
        they do not have to change how they feel about it. However, they do not get to
        make fun of, harass, harm, or ignore the existence of other students . . . .

Id. at 3. If parents ask about opt-outs, teachers are encouraged to explain why the instruction is

important and how the books are used:

        While there are no planned explicit lessons related to gender and sexuality, students
        will see these identities embedded in our curriculum and learning environment.
        Explicit instruction involves teaching a specific concept or procedure in a highly
        structured and carefully sequenced manner where there is an opportunity to model,
        coach and apply the learning. The concepts or terms that relate to gender and sexual
        identity are not taught explicitly, but there may be a need to define words that are
        new and unfamiliar to students. . . . No child who does not agree with or understand
        another student’s gender, expression, or their sexual identity is asked to change how
        they feel about it. Parents always have the choice to keep their student(s) home
        while using these texts; however, it will not be an excused absence.

Id. at 3–4.

        The Fox News article also provides excerpts of proposed “think aloud” moments for some

of the books. After reading Intersection Allies, students “will recognize their own responsibility

to stand up to exclusion, prejudice and injustice.” Id. at 4. For Prince & Knight, students might

notice “that the prince doesn’t seem happy about all the princesses trying to get his attention” and



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wonder “how he might feel about the pressure his parents are putting on him to find a princess.”

Id. at 5. For Love, Violet, students might acknowledge “how uncomfortable we might [be] in

situations when we feel our heart beating ‘thumpity thump’ & how hard it can be [to] talk about

our feelings with someone that we don’t just ‘like’ but ‘like like.’” Id. They “will develop

language and knowledge to accurately and respectfully describe how people (including

themselves) are both similar to and different from each other and others in their identity groups.”

Id. at 6. And for Born Ready, students might notice “how happy [the main character] is when his

mom hears him and commits to sharing with their loved ones that he is a boy”; teachers might then

say “that we know ourselves best.” Id. The article states that another slide of the presentation

encouraged teachers, “Use five of the books by the end of December.” ECF 1-5, at 2.

       According to the article, educators who attended the workshop received a list of potential

questions from students and a list of suggested responses. Id. at 6. The article appears to be

referring to a document titled “Sample Student Call-Ins.” See ECF 55-3. The following excerpts

are representative but not exhaustive. If a student says being “gay, lesbian, queer, etc.” is “wrong

and not allowed” by his or her religion, teachers might respond,

       I understand that is what you believe, but not everyone believes that. We don’t
       have to understand or support a person’s identity to treat them with respect and
       kindness. School is a place where we learn to work together regardless of our
       differences. In any community, we’ll always find people with beliefs different from
       our own and that is okay—we can still show them respect.

Id. at 2. If a student says “she can only like boys because she’s a girl” or “boys can’t paint their

nails,” teachers might try to “disrupt the either/or thinking” and provide examples like “Harry

Styles wears dresses” or “my best friend is a woman and she is married to another woman.” Id. at

2–4. If a student says “that’s gay” or “that’s weird” about gay characters, teachers might explain

that the word gay “describes people of the same gender who love each other. In our school we




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respect all people so we don’t talk about being ‘gay’ in a negative way, like saying it’s ‘weird.’”

Id. at 2. Teachers might also say “using gay to describe something negative reflects a long history

of prejudice against LGBTQ+ people” and “when I ask you to not use expressions like ‘that’s so

gay,’ I’m just trying to make you aware that it is hurtful to a lot of people.” Id. at 4. If a student

says, in reference to transgenderism and the main character in Born Ready, “That’s weird. He

can’t be a boy if he was born a girl,” or asks about the character’s “body parts,” teachers are

encouraged to respond,

       That comment is hurtful; we shouldn’t use negative words to talk about peoples’
       identities. Sometimes when we learn information that is different from what we
       always thought, it can be confusing and hard to process.

       When we’re born, people make a guess about our gender and label us “boy” or
       “girl” based on our body parts. Sometimes they’re right, and sometimes they’re
       wrong. When someone’s transgender, they guessed wrong; when someone’s
       cisgender, they guessed right. Our body parts do not decide our gender. Our gender
       comes from inside – we might feel different than what people tell us we are. We
       know ourselves best. When someone tells us what their gender is, we believe them
       because they are the experts on themselves.

       It’s none of our business what body parts a person has, so we should never ask that
       question.

Id. at 2–3. Generally, the suggested responses focus on tolerance, empathy, and respect for

different views.

       E. Rollout and Opt-Out Policy

        A November 2022 white paper prepared by the Montgomery County Association of

Administrators and Principals expressed concerns about the content of some of the books, the

suggested responses to student questions, and the proposed end to opt-outs. See ECF 47-1. The

white paper noted “several of the books and supporting documents seemingly contradict [the]

message” that the books were not supposed to be teaching about sexual orientation or gender

identity as standalone concepts in elementary school. Id. at 8. It stated that teachers had “not been



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trained on the use of these materials and subsequent questions, conversations, and class discussions

that may occur,” and it worried about the “potentially polarizing position” educators would be put

in if individual schools or teachers were left to decide whether to use the books. Id. at 9. It referred

to “numerous concerns” from educators and community members that some of the books were not

appropriate for the intended age group. Singling out Love, Violet, for example, the white paper

stated, “It is problematic to portray elementary school age children falling in love with other

children, regardless of sexual preferences.” Id. at 8. The white paper also critiqued excerpts from

the list of anticipated questions and suggested answers. Id. at 10. Regarding the suggested answer

“people make a guess about our gender,” it stated, “Concern: Stated as a fact. Some would not

agree this is a fact.” Id.

        According to Hazel, at the beginning of the 2022–2023 school year, some parents began

requesting their children be excused from classroom instruction using the storybooks. ECF 43,

¶ 33. Some of the requests were religious in nature, but many others were rooted in opposition to

what the parents perceived as efforts to teach students about sex and LGBTQ issues. Id. ¶ 34. In

some instances, the teachers and principals who received these requests accommodated them by

excusing students when the storybooks were read in class. Id. ¶ 35.

        In communications with the individual plaintiffs in early 2023, school officials expressed

uncertainty about whether parents would be allowed to opt their children out of classroom

instruction on the storybooks. See, e.g., ECF 1-12 – 1-14. The Romans corresponded with their

school’s principal, seeking to opt their son out and a guarantee that parents would continue to

receive advance notice. ECF 36, ¶ 167. Eventually, the principal agreed their son did not have to

be present when one of the books was read during class and that other parents could request the

same treatment. Id. ¶ 168. Mahmoud and Barakat, meanwhile, were informed by their school’s




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acting principal that MCPS was not supporting opt-outs from the storybooks and that teachers

were not required to provide alternative assignments, but the acting principal later agreed on March

20 to allow their son to sit outside his classroom while one of the books was being discussed. Id.

¶¶ 169–74. On March 22, an MCPS spokesperson responding to a media inquiry issued a

statement confirming parents’ notification and opt-out rights:

       When a teacher selects a curriculum, a notification goes out to parents about the
       book. If a parent chooses to opt out, a teacher can find a substitute text for that
       student that supports these standards and aligns with curriculum.

ECF 36, ¶ 159.

       The following day, March 23, the School Board reversed course and issued a “Revised

Message Regarding the Use of Inclusive Texts” that stated:

       [T]here is an expectation that teachers utilize these inclusive lessons and texts with
       all students. . . . Students and families may not choose to opt out of engaging with
       any instructional materials, other than “Family Life and Human Sexuality Unit of
       Instruction” which is specifically permitted by Maryland law. As such, teachers
       will not send home letters to inform families when inclusive books are read in the
       future.

Id. ¶ 160. Hazel states the new no-opt-out policy was the result of meetings with a small group of

principals in March 2023, during which the School Board determined that principals and teachers

“could not accommodate the growing number of opt out requests without causing significant

disruptions to the classroom environment and undermining MCPS’s educational mission.” ECF

43, ¶ 36. The School Board had three concerns. First, high student absenteeism. Id. ¶ 37. In one

instance, for example, parents sought to excuse dozens of students in a single elementary school

from instruction. Id. Second, the infeasibility of managing numerous opt-outs. Id. ¶ 38. Teachers

would have to track and accommodate opt-out requests for their students, and other staff who spent

time in multiple classrooms would have to do so across an entire school. Id. Finally, the School

Board was concerned that permitting some students to leave the classroom whenever books



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featuring LGBTQ characters were used would expose students who believe the books represent

them and their families to social stigma and isolation. Id. ¶ 39. The School Board believed that

would defeat its “efforts to ensure a classroom environment that is safe and conducive to learning

for all students” and would risk putting MCPS out of compliance with state and federal

nondiscrimination laws. Id. Based on these concerns, the School Board decided to disallow opt-

outs from the storybooks, regardless of the reason, after the 2022–2023 school year. Id. ¶¶ 40–

42.3 If schools already had granted opt-out requests, those accommodations would continue

through the end of the school year. Id. ¶ 41. New requests would not be granted. ECF 36, ¶ 160.

       On March 24, teachers at the Persaks’ elementary school were instructed to introduce and

read the books in their classrooms. Id. ¶ 163. Due to the Persaks’ prior request for an opt-out for

their daughter, she was excused from the classroom when one of the storybooks was read, but the

principal made it clear to the Persaks that no further notifications or opt-outs would be provided.

Id. ¶¶ 164–65.

       On May 31, Morrison asked her daughter’s teacher whether her class would be reading any

of the storybooks and was told that some of the books would be used on June 2, 5, and 6. ECF 52,

¶¶ 11–12. Morrison asked whether she could opt her daughter out. The teacher said no, and the

principal later confirmed to Morrison that the school would adhere to the School Board’s no-opt-

out policy. Id. ¶ 12. Morrison kept her daughter home on the days the books were being read. Id.




3
  Hisham Garti, the Outreach Director the Montgomery County Muslim Council, states in a
declaration that Muslim community leaders met with School Board officials, including Hazel, on
May 1, 2023. ECF 47-2. Garti recalls being told the “decision to rescind the opt-out was made
after a few parents of the LGBTQ community complained [children] were offended and had their
feelings hurt when students started leaving classrooms during instructions of these texts.” Id. ¶ 5.
According to Garti, that was “the only explanation MCPS provided for why it rescinded the opt-
out.” Id. ¶ 6.


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       F. MCPS Responses to Community Opposition

       Both before and after the School Board’s decision to end opt-outs, parents raised concerns

about the books with the School Board at public meetings. 4 At the January 12, 2023 board meeting,

one parent objected to My Rainbow by stating, “the transgender ideology is throughout the whole

book” and “this is not instruction, it is indoctrination.” (27:10 – 29:10). She found “most

appalling” the proposed teacher responses, such as saying people “guess” about gender at birth.

Id. She believed such statements undermine “any teaching or viewpoint that many families . . .

have used at home.” Id. She criticized the School Board for providing only its viewpoints, which

implied that parents’ religions and family traditions are wrong. Id. She asserted the School Board

was not allowing kids to “think for themselves” and was indoctrinating students. Id. Another

community member later expressed support for her comments and added that “many if not more

parents . . . believe in traditional Judeo-Christian values as taught in the Bible” and are “opposed

to gender-fluid ideology.” (30:47 – 33:02). He expressed concern that introducing “highly

sexualized concepts in elementary school” will “cause children to question their identity when they

otherwise don’t.” Id.

       School officials responded to the parents’ concerns in different ways. At the meeting,

Board Member Lynne Harris responded to these comments by stating:

       Some of the testimony today was disturbing to me personally. Transgender,
       LGBTQ individuals are not an ideology, they’re a reality. And there are religions
       out there that teach that women should achieve only subservient roles in life, and
       MCPS would never think of not having a book in a classroom that showed a woman


4
 The plaintiffs provide abbreviated quotations of selected statements made during several School
Board meetings, which were recorded and posted online. The Court watched the recordings of the
meetings referred to by the plaintiffs. The January 12, 2023 board meeting is found at
https://perma.cc/T234-559Q; the March 28, 2023 board meeting is found at
https://shorturl.at/fAET6; and the May 25, 2023 board meeting is available at
https://go.boarddocs.com/mabe/mcpsmd/Board.nsf/Public. The Court cites general timestamps
where appropriate.


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       as being a superintendent of a very large school system, or a doctor, or vice
       president of the United States. So, our students, our staff, our part of the LBGTQ
       community, they are transgender. The very few books that we’re intentionally
       including in our curriculum—which, by the way, the language being suggested to
       support teachers in answering questions is evidence- and science-based—that is
       what we have pledged to do, is to make sure every student sees themselves reflected
       in the curriculum, in the course, in the work they’re doing in their classrooms. I
       am very proud that we’re doing that work, and I continue to support it.

(38:35 – 39:40). An MCPS student who sits with the board expressed similar sentiments:

       It is our responsibility as a school system to equitably provide a high-quality
       education to all of our students, and that is impossible if every single student cannot
       see themselves reflected in the classroom. Every student, regardless of their sexual
       orientation or their gender identity, regardless of what they look like or where they
       come from, has the right to be reflected in what they learn. I know that I cannot
       speak for all of my peers, for all of the students in this county, but let me speak for
       many of them as I applaud the school system for their work in realizing this vision.
       To the students of MCPS, yes, ignorance and hate does exist within our community.
       Please know that every student, each of our 160,000 students in our large county,
       has a place in the school system, has a place in their school, and certainly has a
       place in their classroom.

(39:40 – 40:40). After Hazel and Deputy Superintendent Patrick Murphy spoke about the

storybooks and how their implementation would be communicated to families, Board Vice

President Shebra Evans expressed her “full support” for the student board member’s comments,

stating “it was very important that that be stated out loud.” (44:05 – 44:36).

       In a January 24 email, the Persaks’ elementary school principal reflected on a recent parent

meeting about the storybooks and stated, “several people (both staff and parents) expressed to me

that they felt less safe as a result of some of the comments made by” community members who

opposed the storybooks and that “the county is considering an ‘opt out’ for parents” to

accommodate certain parents’ “fears.” ECF 1-12. The principal expressed her unequivocal

opposition to an opt-out from “books with LGBTQ+ characters in them,” likening it to a decision

to opt out of “books with characters from other marginalized groups” such as Jews, Muslims, and

African Americans. Id.



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       At the March 28 board meeting, an individual representing various parent groups protested

the decision to end opt-outs: “How is taking away parental rights to opt-out of teachings that go

against religious rights, family values, and core beliefs helping us to trust you . . . ?” (1:08:50 –

1:10:45). Harris commented on the individual’s concerns:

       I just want to address, what is it, Moms for Liberty? If we could talk about what
       this is really about. You say, “parents rights to pull their students out of lessons
       when they’re going to be reading a book that has an LGBTQ character in it,”
       because of your “religious rights, your family values, your core beliefs.” But
       Rogers and Hammerstein got it right seventy years ago, you have to be taught to
       hate. No child is born other-izing, marginalizing, thinking somebody else is not as
       good as they are, because of the way they look or the way they talk or the religion
       they practice or who they love. I am proud of the work that this system is doing
       and is committed to doing, to say we are going to ensure that every student in our
       school at every age can seek themselves reflected in the work of their classroom
       and in the people in the schools that do that work with them. And even if they don’t
       feel safe being who they are at home, or in their other community, we’re going to
       create a space that acknowledges the humanity of everybody. Because saying that
       a kindergartener can’t be present when you read a book about a rainbow unicorn
       because it offends your religious rights or your family values or your core beliefs
       is just telling that kid, “here’s another reason to hate another person.” And we are
       not going to do that in the school system.

(1:46:41 – 1:48:19). The student board member also shared his thoughts:

       We cannot opt out of diversity and inclusion. It’s the school system’s responsibility
       to deliver a meaningful education to all of our students, every student has the right
       to be reflected in what they learn. Which means that we cannot treat instruction
       that reflects some students any differently than as we treat instruction that reflects
       others. No aspect of a student’s identity should limit the quality of their
       education—not what they look like, not where they come from, not what language
       they speak, not their sexuality, not their gender identity, and not their religion. To
       be clear, diversity is a necessity to a comprehensive education, so inclusion must
       stay.

(1:48:23 – 1:49:13).

       At the May 25 board meeting, many more community members spoke about the storybooks

and the no-opt-out policy, both for and against the change. In response, the student board member

sought clarification about when state law required opt-outs and whether the storybooks were part




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of the family life and human sexuality unit of the health curriculum. (1:11:14). Hazel explained

that state law required opt-outs only from the human growth and sexuality course and that the

storybooks were part of the literacy curriculum. (1:11:54). The student board member stated in

response:

       We heard this from all parts of our community, but, fundamentally, diversity is a
       good thing. Inclusion is a good thing. And by providing these diverse and inclusive
       texts, by aligning ourselves and following state guidance on when opt-out is
       appropriate, we are doing a service to our students by creating an inclusive
       education. It is disheartening to hear about the cases of students being bullied about
       practicing their religious beliefs in schools, and we know of students facing
       discrimination based on sexuality or their gender identity. But across the board, by
       staying true to the value of diversity and inclusion, we are addressing these issues
       in our schools, and I think that is the greatest service we can do for all of our
       students. And this work around creating inclusive texts at the elementary school
       levels, the work around the anti-racist audit, the new pilot courses coming to our
       schools next fall . . . that are inclusive of so many communities in our school system
       are really starting to change the face of what it looks like to deliver an inclusive
       education. . . . [I want to make sure we continue] to send a clear message to all our
       students that regardless of their gender identity or sexuality, regardless of their
       religion, this is their MCPS and they have a right to see themselves in what they
       learn everyday.

(1:14:24 – 1:15:50). Superintendent Monifa B. McKnight then discussed the value of diversity

within the MCPS community:

       When we think about the diversity that sits within our community, that’s often
       referred to as a strength, and the school system absolutely has a responsibility to
       respect and support that. Every day, when our children go home, then they have
       the lessons that are taught in their home that is reflective of culture, religion, and
       all of those pieces. We would expect that to be the case and would continue in our
       community as it always has. . . . We would expect that there are values that come
       out of every home, and those are the lessons that are taught in that home. And this
       is not an invasion of that.

(1:16:20 – 1:17:12).




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       A June 2, 2023 article on the MoCo360 website purports to quote statements made by

Harris at the May 25 meeting.5 See ECF 23-1, at 30, (https://perma.cc/5GD9-2YVQ). Harris

stated she felt “kind of sorry” for an MCPS student who had expressed personal discomfort with

the curriculum. She wondered whether the student was “parroting dogma” learned from her

parents. Id. She pushed back on the idea that the School Board was infringing parental rights,

stating: “There is no right for a parent to micromanage their child’s public-school experience. If

they want their child to receive an education that strictly adheres to their religious dogma, they can

send their kid to a private religious school.” Id. Harris said she considered it a “badge of honor”

to have been quoted four times in the complaint in this lawsuit, which had been filed the previous

day, and she expressed concern about the precedent that would be set if the plaintiffs prevailed:

“Do [the plaintiffs] realize it would be an impossible disruption to the school system if teachers

had to screen the content they plan to teach every day and send out notices so white supremacists

could opt out of civil rights content and xenophobes could opt out of stories about immigrant

families?” Id.6

       G. Relevant Procedural History

       On May 24, 2023, the individual parents, on behalf of themselves and their children, filed

this lawsuit against the Montgomery County Board of Education, Superintendent Monifa B.




5
 The Court could not locate the quoted statements during its review of the hours-long recording
of the May 25 meeting or the recordings of the adjacent board meetings. The accuracy of these
quotations, which the School Board has not disputed, does not bear on the Court’s analysis.
6
 The plaintiffs also highlight comments by a Montgomery County Council member who stated it
was unfortunate that the issue put “some Muslim families on the same side of an issue as White
supremacists and outright bigots.” See ECF 23-1, at 30, https://perma.cc/3AJE-RSBA. She
continued, “I would not put you in the same category as those folks, although, you know, it’s
complicated because they’re falling on the same side of this particular issue.” Id.



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McKnight, and board members Karla Silvestre, Shebra Evans, Grace Rivera-Oven, Rebecca

Smondrowski, Julie Yang, Brenda Wolff, and Lynne Harris. ECF 1. They asserted violations of

the Free Exercise Clause of the First Amendment, a violation of the Free Speech Clause of the

First Amendment, a violation of the Due Process Clause of the Fourteenth Amendment, and a

violation of Maryland law. The federal constitutional claims are brought pursuant to 42 U.S.C.

§ 1983. On June 12, the individual parents moved for a preliminary injunction based on the likely

success of their free exercise and due process claims. ECF 23. On July 6, the plaintiffs filed an

amended complaint, which added Kids First as a plaintiff. ECF 36. Kids First has not joined the

preliminary injunction motion.7

II.     Preliminary Injunction Standard

        Before the entry of a final judgment, a court may enter a preliminary injunction. Fed. R.

Civ. P. 65(a). “The traditional office of a preliminary injunction is to protect the status quo and to

prevent irreparable harm during the pendency of a lawsuit ultimately to preserve the court’s ability

to render a meaningful judgment on the merits.” United States v. South Carolina, 720 F.3d 518,

524 (4th Cir. 2013) (quoting In re Microsoft Corp. Antitrust Litig., 333 F.3d 517, 525 (4th Cir.

2003)). In other words, a preliminary injunction enables the court to ensure that, should the

plaintiff prevail, the relief sought will be available to it to the same extent as when it filed suit. See



7
  Even though Kids First has not joined the parents’ motion, the parents rely on a declaration from
one of the association’s members, Grace Morrison, to support their legal arguments, and they argue
the requested injunctive relief also would protect Kids First and its members. ECF 52 & 57. The
Court is not convinced that Kids First has standing to bring claims on behalf of its members,
including Morrison. An association has standing to bring suit on behalf of its members when
“neither the claim asserted nor the relief requested requires the participation of individual members
in the suit.” Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Free exercise
claims “ordinarily require[] individual participation.” Harris v. McRae, 448 U.S. 297, 320–21
(1980); Cornerstone Christian Schs. v. Univ. Interscholastic League, 563 F.3d 127, 133–34 (5th
Cir. 2009). The parties have not presented arguments on this issue, which was thrown into sharp
relief by Morrison’s post-hearing declaration about her family’s unique situation.


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id. “A preliminary injunction is ‘an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief’ and may never be awarded ‘as of right.’”

Mountain Valley Pipeline, LLC v. W. Pocahontas Props. Ltd. P’ship, 918 F.3d 353, 366 (4th Cir.

2019) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22, 24 (2008)).

        A plaintiff seeking preliminary injunctive relief bears the burden of proof and must meet

“a high bar” by “[s]atisfying . . . four factors.” SAS Inst., Inc. v. World Programming Ltd., 874

F.3d 370, 385 (4th Cir. 2017); Direx Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 812

(4th Cir. 1991). The plaintiff must clearly show “[1] that [it] is likely to succeed on the merits, [2]

that [it] is likely to suffer irreparable harm in the absence of preliminary relief, [3] that the balance

of equities tips in [its] favor, and [4] that an injunction is in the public interest.” Winter, 555 U.S.

at 20; Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 339 (4th Cir. 2021) (en

banc) (citing In re Search Warrant Issued June 13, 2019, 942 F.3d 159, 170–71 (4th Cir. 2019)).

        Several of the preliminary injunction factors merge when constitutional rights are at stake.

Leaders, 2 F.4th at 346. To start, when “there is a likely constitutional violation, the irreparable

harm factor is satisfied.” Id.; see also W.V. Ass’n of Club Owners & Fraternal Servs., Inc. v.

Musgrave, 553 F.3d 292, 298 (4th Cir. 2009) (“[I]n the context of an alleged violation of First

Amendment rights, a plaintiff’s claimed irreparable harm is ‘inseparably linked’ to the likelihood

of success on the merits of [the] plaintiff’s First Amendment claim.”). This is so because “the loss

of constitutional freedoms, ‘for even minimal periods of time, unquestionably constitutes

irreparable injury.’” Leaders, 2 F.4th at 346 (quoting Mills v. District of Columbia, 571 F.3d 1304,

1312 (D.C. Cir. 2009) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976))). Likewise, the final

two factors—the balance of the equities and the public interest—are satisfied when there is a likely

constitutional violation because “the public interest favors protecting constitutional rights” and “a




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state is in no way harmed by issuance of a preliminary injunction which prevents the state from

enforcing restrictions likely to be found unconstitutional.”        Id. (quoting Centro Tepeyac v.

Montgomery Cnty., 722 F.3d 184, 191 (4th Cir. 2013)); see also Miranda v. Garland, 34 F.4th

338, 365 (4th Cir. 2022) (noting the final two preliminary injunction factors “merge when the

Government is the opposing party”) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).

        The School Board contends the plaintiffs seek a mandatory preliminary injunction.

Mandatory preliminary injunctions “alter rather than preserve the status quo” and are particularly

“disfavored.” Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, Owned by Sandra Townes

Powell, 915 F.3d 197, 216 n.8 (4th Cir. 2019). They are “warranted only in the most extraordinary

circumstances.” Taylor v. Freemen, 34 F.3d 266, 270 n.2 (4th Cir. 1994) (quoting Martinez v.

Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976)).

        The heightened standard for a mandatory preliminary injunction does not apply here

because the plaintiffs ask the Court to maintain the status quo. An injunction that “maintain[s] the

status quo and prevent[s] irreparable harm while a lawsuit remains pending” is prohibitory rather

than mandatory. League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 236 (4th Cir.

2014) (quoting Pashby v. Delia, 709 F.3d 307, 320 (4th Cir. 2013)). The Fourth Circuit has defined

“the status quo” as the “last uncontested status between the parties which preceded the

controversy.” Id. In Pashby, the plaintiffs moved for a preliminary injunction the day before the

policy they challenged took effect. 709 F.3d at 320. While the policy had been approved by the

legislature months earlier, it had not taken effect at the time the plaintiffs filed their motion. Id.

For that reason, the court held the plaintiffs sought a prohibitory injunction. Id. Here, the plaintiffs

filed their motion on June 12, 2023, four days before the close of the 2022–2023 school year. At

that time, the opt-out requests of the individual plaintiffs that previously had been granted were




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still honored. See ECF 36, ¶ 164; ECF 43, ¶ 41 (stating “accommodations would no longer be

provided after the 2022–2023 school year ended”). The individual plaintiffs seek to stop the

School Board from implementing a change in policy that has not yet caused them injury. That is

a prohibitory, not mandatory, injunction.

III.    Discussion

        A. Likelihood of Success on the Merits

        The parties agree the preliminary injunction analysis in this case collapses into the first

factor, the likelihood of success on the merits. The plaintiffs claim the School Board’s decision to

disallow opt-outs from the storybooks likely violates their rights under the Free Exercise Clause

of the First Amendment and the Due Process Clause of the Fourteenth Amendment. The School

Board argues the plaintiffs have not established a likely constitutional violation.

            1. Free Exercise

        The First Amendment, applicable to the states through the Fourteenth Amendment,

provides in part that “Congress shall make no law respecting the establishment of religion, or

prohibiting the free exercise thereof.” U.S. Const., amend. I. The Free Exercise Clause “protects

against laws that discriminate against or among religious beliefs or that restrict certain practices

because of their religious conduct.” Alive Church of the Nazarene, Inc. v. Prince William Cnty.,

Va., 59 F.4th 92, 108 (4th Cir. 2023). To violate the Free Exercise Clause, a law, regulation, or

government policy must “burden religious exercise.” Fulton v. City of Philadelphia, --- U.S. ----,

141 S. Ct. 1868, 1876 (2021); Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449,

462–63 (2017); Sch. Dist. of Abington Twp., Pa. v. Schempp, 374 U.S. 203, 223 (1963) (noting “a

violation of the Free Exercise Clause is predicated on coercion”). Even when state action burdens

religious exercise, it still may be “constitutionally permissible” if it survives the requisite level of




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judicial scrutiny. Fulton, 141 S. Ct. at 1876. A “facially neutral and generally applicable” law

that has the incidental effect of burdening religious exercise is subject to rational basis review.

Alive Church of the Nazarene, 59 F.4th at 108; see Emp’t Div., Dep’t of Human Res. of Ore. v.

Smith, 494 U.S. 872, 878–82 (1990). “Laws that are not neutral and generally applicable, however,

are subject to strict scrutiny review.” Alive Church of the Nazarene, 59 F.4th at 108.

       The parties debate whether the plaintiffs’ free exercise claims are subject to strict scrutiny

or rational basis review. The plaintiffs argue, first, that strict scrutiny applies under Wisconsin v.

Yoder, 406 U.S. 205, 233 (1972), whenever laws restrict the “right of parents . . . to direct the

[religious] upbringing of their children.” Next, they argue strict scrutiny applies under Fulton v.

City of Philadelphia, 141 S. Ct. at 1877, which reaffirmed that policies are not generally applicable

when they allow for individualized exemptions. The plaintiffs argue the Religious Diversity

Guidelines, which allowed parents to opt out of the storybooks last school year, operate as a system

of discretionary exemptions and invite “individualized governmental assessment of the reasons

for” opt-out requests. See Smith, 494 U.S. at 884. Third, the plaintiffs argue strict scrutiny applies

under Tandon v. Newsom, --- U.S. ----, 141 S. Ct. 1294, 1296 (2021), which held that laws are not

generally applicable when they treat “any comparable secular activity more favorably than

religious exercise.” The plaintiffs argue the School Board allows opt-outs for secular reasons from

its family life and human sexuality curriculum but refuses to allow opt-outs for religious reasons

from the storybooks, which they view as covering some of the same topics. Finally, the plaintiffs

argue the no-opt-out policy is not neutral because its adoption was surrounded by official

expressions of hostility toward religion and, as a result, it is subject to strict scrutiny under

Masterpiece Cakeshop, Ltd. v. Colo. C.R. Comm’n, --- U.S. ----, 138 S. Ct. 1719 (2018), and

Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520 (1993). The defendants




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argue the no-opt-out policy is neutral and generally applicable because it was not adopted based

on hostility toward religion and no one can opt out of instruction involving the storybooks for any

reason. Thus, they contend, the policy is subject to rational basis review.

        Before the Court may reach the question of the appropriate level of judicial review, it first

must address the threshold question of whether the plaintiffs can establish that the no-opt-out

policy burdens their religious exercise. They assert the policy substantially interferes with their

sacred obligations to form their children in their faiths and the religious exercise of their children.

The School Board argues the no-opt-out policy does not burden the plaintiffs’ religious exercise

because the parents and their children are not being directly or indirectly coerced into activity that

violates their religious beliefs.

                a. Burden – Legal Principles

        “[T]he ordinary meaning of ‘prohibiting the free exercise of religion’ was (and still is)

forbidding or hindering unrestrained religious practices or worship.” Fulton, 141 S. Ct. at 1896

(Alito, J., concurring). Thus, “it is necessary in a free exercise case for one to show the coercive

effect of the enactment as it operates against him in the practice of his religion.”    Schempp, 374

U.S. at 223; see Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 720 (2014) (finding religious

exercise burdened by a law that required the plaintiffs to “engage[] in conduct that seriously

violates their religious beliefs”). Coercion can be direct or indirect. Lyng v. Nw. Indian Cemetery

Protective Ass’n, 485 U.S. 439, 450 (1988). Direct coercion is the express prohibition of conduct

required by faith or the compulsion to perform conduct prohibited by faith. See Smith, 494 U.S.

at 878 (recognizing an individual’s religious exercise is burdened by any law that “requires (or

forbids) the performance of an act that his religious belief forbids (or requires)”). Indirect coercion

exists when government action places “substantial pressure on an adherent to modify his behavior




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and violate his beliefs[.]” Thomas v. Rev. Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 717–18

(1981).8

        The early indirect coercion cases involved “state unemployment compensation rules that

conditioned the availability of benefits upon an applicant’s willingness to work under conditions

forbidden by his religion.” Smith, 494 U.S. at 883. For example, in Sherbert v. Verner, a woman

lost her job and was unable to obtain other employment because she refused to work on her

religious day of rest. 374 U.S. 398, 399 (1963). She sought unemployment benefits, but under

state law, she was ineligible because she had failed, without good cause, to accept available

suitable work. Id. at 400–01. The Supreme Court held the state law burdened the plaintiff’s

religious exercise because “the pressure upon her to forego [the practice of her religion] is

unmistakable”—the law “force[d] her to choose between following the precepts of her religion

and forfeiting benefits, on the one hand, and abandoning one of the precepts of her religion in order

to accept work, on the other hand.” Id. at 404. “Governmental imposition of such a choice puts

the same kind of burden upon the free exercise of religion as would a fine imposed against [an

individual] for her Sunday worship.” Id.; see also Thomas, 450 U.S. at 717–18.

        The Supreme Court has clarified that these cases support a general rule that “a State violates

the Free Exercise Clause when it excludes religious observers from otherwise available public

benefits.” Carson v. Makin, --- U.S. ----, 142 S. Ct. 1987, 1998 (2022). Thus, in Carson, the Court



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  At oral argument, the plaintiffs suggested a burden on religious exercise may not be required to
establish a free exercise violation, citing three recent Supreme Court cases they say did not address
burden. However, in one case, the Court stated, “it is plain that the City’s actions have burdened
[the plaintiff’s] religious exercise . . . .” Fulton, 141 S. Ct. at 1876. In the other cases, the burden
was equally obvious. California had prohibited private religious gatherings of a certain size.
Tandon, 141 S. Ct. at 1297. And Colorado had ordered an individual to engage in conduct contrary
to his beliefs. Masterpiece Cakeshop, 138 S. Ct. at 1726. These cases do not support the plaintiffs’
position that a burden on religious exercise may not be required to establish a free exercise claim,
a position that cannot be squared with the text of the Free Exercise Clause.


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concluded a state law that provided certain parents with tuition assistance for their school-aged

children but prohibited religious schools from receiving the state-issued tuition assistance

burdened the parents’ religious exercise. Id. The law forced the parents to choose between

religious schooling and a public benefit, just as the unemployment benefits framework in Sherbert

forced the worker to choose between honoring her religious day of rest and receiving

unemployment assistance. Id.; see also Trinity Lutheran, 582 U.S. at 462 (“[T]he Department’s

policy puts Trinity Lutheran to a choice: It may participate in an otherwise available benefit

program or remain a religious institution.”). Similar reasoning led the Court to find indirect

coercion when a policy forced a religious organization to choose between “curtailing its mission”

and violating its beliefs. Fulton, 141 S. Ct. at 1876. In Fulton, a Catholic foster care agency faced

exclusion from municipal contracts for the placement of needy children into foster homes unless

it agreed to certify same-sex foster families—conduct it viewed as “approving relationships

inconsistent with its beliefs.” Id. There, too, the coercive pressure to forgo religious exercise was

clear.

         This case involves objections to a public-school curriculum. The Fourth Circuit has not

addressed the question of when a mandatory public-school curriculum might burden the religious

exercise of students or parents. Other courts have. Every court that has addressed the question

has concluded that the mere exposure in public school to ideas that contradict religious beliefs

does not burden the religious exercise of students or parents. See, e.g., Parker v. Hurley, 514 F.3d

87, 107 (1st Cir. 2008); Bauchman v. West High Sch., 132 F.3d 542, 557 (10th Cir. 1997);

Fleischfresser v. Dirs. of Sch. Dist. 200, 15 F.3d 680, 690 (7th Cir. 1994); Mozert v. Hawkins Cnty.

Bd. of Educ., 827 F.2d 1058, 1065 (6th Cir. 1987); Grove v. Mead Sch. Dist. No. 354, 753 F.2d

1528, 1542–43 (9th Cir. 1985); Jones v. Boulder Valley Sch. Dist. RE-2, No. 20-cv-3399-RM-




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NRN, 2021 WL 5264188, at *14 (D. Colo. Oct. 4, 2021); Coble v. Lake Norman Charter Sch.,

Inc., No. 3:20-CV-596, 2021 WL 1109360, at *7 (W.D.N.C. Mar. 23, 2021); Sabra v. Maricopa

Cnty. Cmty. Coll. Dist., 479 F. Supp. 3d 808, 818 (D. Az. 2020); Cal. Parents for Equalization of

Educ. Mats. v. Torlakson, 267 F. Supp. 3d 1218, 1227 (N.D. Cal. 2017), aff’d, 973 F.3d 1010 (9th

Cir. 2020); Freedom From Religion Found. v. Hanover Sch. Dist., 665 F. Supp. 2d 58, 71 (D.N.H.

2009). The Court will discuss a few of these cases in detail, but in brief, these courts reasoned that

the mere exposure to ideas in public school did not burden religious exercise because (1) students

were not required to behave contrary to their faiths or affirm any views contrary to their religious

beliefs, and (2) parents were not prevented from discussing and contextualizing any contrary views

at home.

        In Mozert v. Hawkins, students and parents brought a free exercise challenge against a

mandatory public-school curriculum involving a series of basic reading textbooks. 827 F.2d at

1059–60. The families had religious objections to several themes in the books, including mental

telepathy, evolution, and pacifism. Id. at 1060–61. Initially, the school worked with the families

to provide an alternative reading program for students whose parents objected to the books. Id. at

1060. But the school board later voted to eliminate all alternative reading programs, making the

books mandatory. Id. Several students who refused to read the books or attend reading classes in

which they were used were suspended, others transferred schools or withdrew from public school,

and a few received unsanctioned accommodations. Id. The families claimed the mandatory

curriculum violated their rights under the Free Exercise Clause.            The lower court agreed,

concluding “the plaintiffs’ free exercise rights ha[d] been burdened because their ‘religious beliefs

compel[led] them to refrain from exposure to the [book] series,’ and the defendant school board

‘ha[d] effectively required that the student plaintiffs either read the offensive texts or give up their




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free public education.’” Id. at 1062. But the Sixth Circuit reversed and held exposure to ideas did

not burden the families’ religious exercise. Id. at 1065. The court discussed indirect coercion

cases, noting that in each, “there was compulsion to do an act that violated the plaintiffs’ religious

convictions.” Id. at 1065–66. But nothing in the record suggested “any student was ever required

to affirm his or her belief or disbelief in any idea or practice mentioned in the various stories.” Id.

at 1063–64.    The plaintiffs pointed to guidance in teachers’ materials that they viewed as

encouraging teachers to present the objectionable ideas as “truth,” but the court noted students did

not read the teachers’ materials and there was “no proof that any plaintiff student was ever called

upon to say or do anything . . . or to engage or refrain from engaging in any act either required or

forbidden by the student’s religious convictions.” Id. The court concluded “compulsion” must

mean something beyond simply “reading and discussing assigned materials.” Id. at 1064.

       Similarly, in Fleischfresser v. Directors of School District 200, the Seventh Circuit

affirmed the dismissal of a free exercise challenge brought by parents against a public school

district for its use of a series of books in a supplemental reading program. 15 F.3d at 690. The

parents alleged the book series focused on supernatural beings including “wizards, sorcerers,

giants and unspecified creatures with supernatural powers” and “indoctrinate[d] children in values

directly opposed to their Christian beliefs by teaching tricks, despair, deceit, parental disrespect

and by denigrating Christian symbols and holidays.” Id. at 683. The court acknowledged the

parents’ right “to control the religious upbringing and training of their minor children.” Id. at 689

(citing Yoder, 406 U.S. at 213–14). But it found no free exercise violation because the parents had

not alleged the use of the books had “a coercive effect that operate[d] against the [] practice of

their religion.” Id. at 689–90. The defendants were “not precluding the parents from meeting their

religious obligation to instruct their children,” and “the use of the series [did not] compel the




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parents or children to do or refrain from doing anything of a religious nature. Thus, no coercion

exist[ed] . . . .” Id. at 690. The court concluded by endorsing a concern Justice Jackson had

expressed nearly 50 years earlier: “If we are to eliminate everything that is objectionable to any

[religious group] or inconsistent with any of their doctrines, we will leave public schools in shreds.

Nothing but educational confusion and a discrediting of the public school system can result from

subjecting it to constant law suits.” Id. (quoting McCollum v. Bd. of Educ., 333 U.S. 203, 235

(1948) (Jackson, J., concurring)).

       The most recent circuit-level analysis of free exercise challenges to public-school curricula

is found in Parker v. Hurley, 514 F.3d 87 (1st Cir. 2008). In that case, parents brought free exercise

challenges to two books that portrayed families with same-sex parents. Id. at 90. The parents

sought advance notice from the school about when the books would be used and the opportunity

to opt their children out of instruction using the books, which they believed contradicted their

religious beliefs. Id. The First Circuit affirmed the dismissal of the parents’ claims, which it

characterized as seeking an “exemption from religiously offensive material.” Id. at 95, 104. It

began with “the standard constitutional threshold question”—“whether the plaintiff’s free exercise

is interfered with at all.” Id. at 99 (quoting N.M. Stolzenberg, “He Drew a Circle That Shut Me

Out”: Assimilation, Indoctrination, and the Paradox of a Liberal Education, 106 Harv. L. Rev.

581, 592–93 (1993)). It found no allegations of direct coercion:

       The parents do not allege coercion in the form of a direct interference with their
       religious beliefs, nor of compulsion in the form of punishment for their beliefs . . . .
       Nor do they allege the denial of benefits. Further, plaintiffs do not allege that the
       mere listening to a book being read violated any religious duty on the part of the
       child. There is no claim that as a condition of attendance at the public schools, the
       defendants have forced plaintiffs—either the parents or the children—to violate
       their religious beliefs.




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Id. at 105. Instead, the court determined the “heart of the plaintiffs’ free exercise claim is a claim

of ‘indoctrination’: that the state has put pressure on their children to endorse an affirmative view

of gay marriage and thus has undercut the parents’ efforts to inculcate their children with their own

opposing religious views.” Id. It declined to decide whether such a theory might be cognizable,

instead concluding that the plaintiffs had not alleged coercion through indoctrination. Id. “[A]s

to the parents’ free exercise rights, the mere fact that a child is exposed on occasion in public

school to a concept offensive to a parent’s religious belief does not inhibit the parent from

instructing the child differently” because parents remain “free to discuss [objectionable] matters

and to place them in the family’s moral or religious context . . . .” Id. (quoting C.N. v. Ridgewood

Bd. of Educ., 430 F.3d 159, 185 (3d Cir. 2005)). In addressing the children’s rights, the court

imagined a spectrum between impermissible indoctrination and permissible “influence-toward-

tolerance.” Id. at 106. One child’s rights were not burdened at all because he was never required

to read the book, which in his case merely depicted same-sex couples and did not endorse

homosexuality. Id. The other child had “a more significant claim” because he was forced to sit

through a classroom reading of a book that did endorse same-sex marriage and homosexuality.

But his claim still fell well short of potentially actionable indoctrination because he was not

required to affirm same-sex marriage, faced no consequences for disagreeing with the books or

refusing to read them, and was not “subject to a constant stream of like materials.” Id. The court

concluded the “reading by a teacher of one book, or even three, and even if to a young and

impressionable child, does not constitute ‘indoctrination.’” Id. at 107.

       When courts have found free exercise violations based on public-school curricula, the

challenged curricula involved more than exposure to ideas. The curricula required conduct that

conflicted with students’ faiths. In Moody v. Cronin, for example, parents and students brought a




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free exercise challenge against a statewide requirement that public-school students “attend all

coeducational physical education classes under penalty of suspension, expulsion, denial of credits

for graduation and other discipline.” 484 F. Supp. 270, 272 (C.D. Ill. 1979). The families had

religious objections to their children being “required to view and interact with members of the

opposite sex who are wearing ‘immodest attire.’” Id. The court found the statewide requirement

“substantially interfere[d] with the religious development of the Pentecostal children and their

integration into the way of life of the Pentecostal faith community.” Id. at 276. It reasoned:

       [T]here is a degree of visual and physical contact inherent in physical education
       that is not present in other classes. The required participation in coeducational
       physical education forces interaction with members of the opposite sex who are
       wearing “immodest attire.” The nature of the activities engaged in effectively
       deprives the Pentecostal children of the decision of “taking the second look” and is
       thus in direct violation of Church teachings regarding being a party to lust, either
       by being provocative themselves or by allowing themselves to be put in a position
       where the temptation is present.

Id. at 275. The court held the students could not be required to participate in coeducational

physical education in violation of their religious beliefs. Id. at 277. Similarly, another court found

a requirement that high school students participate in a military training program or be denied a

diploma burdened the religious exercise of a student whose religious beliefs prohibited him from

participating in training to prepare for war. Spence v. Bailey, 465 F.2d 797, 800 (6th Cir. 1972).

That choice was tantamount to indirect coercion, as in Sherbert. Id. at 799. A court in this circuit

found a school’s uniform requirement that contravened a parent’s religious beliefs burdened

religious exercise. Hicks ex rel. Hicks v. Halifax Cnty. Bd. of Educ., 93 F. Supp. 2d 649, 659

(E.D.N.C. 1999). And in yet another case, a court recognized that a school’s refusal to excuse

students with religious objections to watching movies and listening to recordings of any kind

burdened parents’ rights to pass on their faiths because it “allows to be done in school what is

prohibited at home. It places the children between the Scylla of obeying their parents’ religious



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teachings and the Charybdis of obeying the commands of their teachers and school authorities.”

Davis v. Page, 385 F. Supp. 395, 399–400 (D.N.H. 1974).

       Each of these cases relied on Yoder, a seminal Supreme Court case that reaffirmed the

“right of parents to direct the religious upbringing of their children.” 406 U.S. at 233. In Yoder,

Amish parents challenged their convictions under a state criminal statute requiring them to cause

their children to attend public or private school until age 16. Id. at 207. The parents had declined

to send their 14- and 15-year-old children to public or private school. Id. They believed their

children’s attendance in school was contrary to the Amish religion and way of life, and that “by

sending their children to high school, they would not only expose themselves to the danger of the

censure of the church community, but . . . also endanger their own salvation and that of their

children.” Id. at 209. Substantial evidence supported the parents’ contention that their religious

communities were “characterized by a fundamental belief that salvation requires life in a church

community separate and apart from the world and worldly influence.” Id. at 209–210. The

evidence included “the unchallenged testimony of acknowledged experts in education and

religious history, almost 300 years of consistent practice, and strong evidence of a sustained faith

pervading and regulating respondents’ entire mode of life . . . .” Id. at 219. Based on this evidence,

the Supreme Court found that

       secondary schooling, by exposing Amish children to worldly influences in terms of
       attitudes, goals, and values contrary to their beliefs, and by substantially interfering
       with the religious development of the Amish child and his integration into the way
       of life of the Amish faith community at the crucial adolescent stage of development,
       contravenes the basic religious tenets and practice of the Amish faith[.]

Id. at 218. In other words, the record showed compulsory school attendance for Amish children

“carrie[d] with it a very real threat of undermining the Amish community and religious practice as

they exist today; they must either abandon belief and be assimilated into society at large, or be




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forced to migrate to some other and more tolerant religion.” Id. The Court acknowledged the

state’s interest in universal compulsory education but held it was not absolute and did not outweigh

the Amish parents’ fundamental rights and interests “with respect to the religious upbringing of

their children . . . .” Id. at 214–15.

        The Yoder Court was clear that its holding was inexorably linked to the Amish

community’s unique religious beliefs and practices. Id. at 235–36. It stated its heightened scrutiny

of the challenged law was compelled by the combination of “the interests of parenthood” and “a

free exercise claim of the nature revealed by this record.” Id. at 233 (emphasis added). It

anticipated “probably few other religious groups or sects could make” a showing similar to the

evidence provided by the Amish parents, including the interrelationship of their beliefs and a

centuries-long practice of isolated and self-sufficient communal living, and it counseled courts to

“move with great circumspection in performing the sensitive and delicate task of weighing a

State’s legitimate social concern when faced with religious claims for exemption from generally

applicable educational requirements.” Id. For these reasons, Mozert distinguished Yoder as resting

“on such a singular set of facts that . . . it cannot be held to announce a general rule that exposure

without compulsion to act, believe, affirm or deny creates an unconstitutional burden.” 827 F.2d

at 1067. Parker, too, observed that “Yoder emphasized that its holding was essentially sui generis,

as few sects could make a similar showing of a unique and demanding religious way of life that is

fundamentally incompatible with any schooling system.” 514 F.3d at 100. Still, Yoder stands as

the ultimate application of the Free Exercise Clause’s protection against compulsory public-school

education that violates parents’ religious beliefs.

        Finally, it is worth emphasizing one throughline in all these cases. The Supreme Court

never has “interpreted the First Amendment to require the Government itself to behave in ways




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that the individual believes will further his or her spiritual development or that of his or her family.”

Bowen v. Roy, 476 U.S. 693, 699 (1986). In Bowen, parents challenged the government’s practice

of assigning and using Social Security numbers. They asserted that practice, as applied to their

two-year-old daughter, would violate their religious beliefs and limit their daughter’s spiritual

development. The Court rejected their claims because the “Free Exercise Clause simply cannot

be understood to require the Government to conduct its own internal affairs in ways that comport

with the religious beliefs of particular citizens.” Id. “Just as the Government may not insist that

appellees engage in any set form of religious observance, so appellees may not demand that the

Government join in their chosen religious practices by refraining from using a number to identify

their daughter.” Id. at 699–700. “The Free Exercise Clause affords an individual protection from

certain forms of governmental compulsion; it does not afford an individual a right to dictate the

conduct of the Government’s internal procedures.” Id. at 700. The Court acknowledged that the

parents’ “religious views may not accept this distinction between individual and governmental

conduct[,]” but it concluded that “the Constitution, rather than an individual’s religion, must

supply the frame of reference.” Id. at 701 n.6. For the same reasons, the Court rejected free

exercise challenges to federal agency actions that had authorized road construction across land

used for religious purposes. Lyng, 485 U.S. at 442. The Court reaffirmed the Free Exercise

Clause’s protection against forms of indirect coercion like the disqualification from unemployment

benefits based on religious conduct, which it analogized to direct fines on religious worship. Id.

at 450. But the Court held that line of indirect-coercion cases “does not and cannot imply that

incidental effects of government programs, which may make it more difficult to practice certain

religions but which have no tendency to coerce individuals into acting contrary to their religious

beliefs, require” judicial scrutiny. Id. at 450–51.




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                b. Burden – Application

        With these principles in mind, the Court considers whether the plaintiffs likely have

established their and their children’s religious exercise rights will be burdened by the no-opt-out

policy. In their declarations, the parents claim a sacred obligation to teach their children their

faiths and their religious views on family structure, gender, and human sexuality. ECF 23-2, ¶¶ 4,

14; ECF 23-3, ¶ 12; ECF 23-4, ¶ 7; ECF 52, ¶ 7. Mahmoud and Barakat state their faith prohibits

prying into others’ private lives and discourages public disclosure of sexual behavior. ECF 23-2,

¶ 17. They state it would violate their religious beliefs and the beliefs of their children if their

children “were asked to discuss romantic relationships or sexuality with schoolteachers or

classmates.” Id. They also state “[i]ntentionally exposing” their children to contrary instruction

would conflict with their religious obligations. Id. ¶ 18. The Romans state their child loves his

teachers and implicitly trusts them, so “[h]aving them teach principles about sexuality or gender

identity that conflict with [their] religious beliefs significantly interferes with [their] ability to form

his religious faith and religious outlook on life and is spiritually and emotionally harmful to his

well-being.” ECF 23-3, ¶ 20. The Persaks state “exposing” their children to viewpoints that

contradict their beliefs “conflicts” with their religious duties and “undermines [their] efforts to

raise [their] children in accordance with [their] faith . . . .” ECF 23-4, ¶¶ 12, 16. Finally, Morrison,

a board member of Kids First, states her religious obligations are “pressured” by the books because

“it is practically impossible for [her and her husband] to contradict” contrary instruction due to her

child’s learning disability, which prevents her from understanding their disagreement with the

books and differentiating their instruction from her teachers’ instruction. ECF 52, ¶¶ 8–9.

Morrison also states she has no realistic alternative to public school for her child’s education. Id.

¶¶ 10, 14.




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       The Court begins with the asserted burden on the children’s religious exercise. The

plaintiffs contend not allowing opt-outs from the storybooks exerts “behavioral pressure” on the

children to “modify their religious beliefs and behavior.” ECF 47, at 10–11. The pressure comes

from the books’ calls to action and introspection and the inevitable teacher-led discussion, which

advance the School Board’s express goal to normalize an inclusive environment. In essence, the

plaintiffs argue that by being forced to read and discuss the storybooks, their children will be

pressured to change their religious views on human sexuality, gender, and marriage. The Court

interprets this argument as an indoctrination claim of the sort contemplated in Parker.

       The plaintiffs have not identified any case recognizing a free exercise violation based on

indoctrination. The closest any court has come to doing so appears to be Tatel v. Mount Lebanon

School District, 637 F. Supp. 3d 295 (W.D. Penn. 2022). In Tatel, the court denied a motion to

dismiss a free exercise claim brought by parents who challenged a public-school teacher’s non-

curricular instruction on transgender topics. Id. at 330. The parents alleged the teacher had

engaged in a year-long course of instruction to first graders on gender dysphoria, including books,

videos, discussions, and private counseling. Id. at 303–05. She also had “instructed the children

in her first-grade class that their parents might be wrong about their children’s gender,” told one

student that he could dress like a different gender, said she would never lie to them (suggesting

their parents would), and encouraged her students “not to tell their parents about her instruction.”

Id. Such instruction was “contrary to the District’s published curriculum,” though administrators

allegedly had adopted a de facto policy allowing the teacher to continue her activities. Id. at 304.

       The Tatel Court’s basis for finding a burden on the parents’ religious exercise is not clear,

but the court’s analysis seems to align with the First Circuit’s description of indoctrination in

Parker. In distinguishing Parker, the court noted that the teacher “did attempt to indoctrinate” the




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children by telling them their parents “may be wrong and her teachings about gender identity were

right.” Id. at 325. Later, in summarizing its reason for finding a viable free exercise claim, the

court stated the teacher had impermissibly “advocated her own agenda and beliefs about gender

identity” in the classroom despite the parents’ objections. Id. at 330.9 The teacher allegedly

engaged in a consistent, multi-pronged, year-long effort to convince her first-grade students to

believe her views on gender and, in some cases, to change their gender identities. Id. at 303–05.

She told her students she would never lie to them, and she encouraged them not to discuss her

instruction with their parents. Id. The students were not just exposed to ideas. They were being

pressured by their teacher to change their religious views on gender identity.

       Here, the plaintiffs have not shown that the no-opt-out policy likely will result in the

indoctrination of their children. Their allegations do not approach the parents’ allegations in Tatel

or the description of indoctrination in Parker. To be sure, the topics in the storybooks the plaintiffs

find objectionable—gender identity, transgenderism, and same-sex marriage—outnumber the

single objectionable issue (same-sex marriage) in the two books in Parker. And some of the books

may be viewed as endorsing particular viewpoints, like one of the books in Parker that the court



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  On a motion for reconsideration, the court expanded on its analysis. Tatel v. Mt. Lebanon Sch.
Dist., --- F. Supp. 3d ----, 2023 WL 3740822, at *13–14 (W.D. Penn. May 31, 2023). The court
reasoned, first, that the plaintiffs did not have to allege coercion because “a non-neutral policy to
the detriment of a religious belief is a per se burden on Free Exercise rights” under Kennedy v.
Bremerton School District, --- U.S. ----, 142 S. Ct. 2407 (2022). Tatel, 2023 WL 3740822, at *13.
In support, the court cited the following language from Kennedy: “[A] plaintiff may carry the
burden of proving a free exercise violation in various ways, including by showing that a
government entity has burdened his sincere religious practice pursuant to a policy that is not
‘neutral’ or ‘generally applicable.’” 142 S. Ct. at 2421–22. The Court does not read this language
from Kennedy as describing a per se burden. Rather, the language explains when strict scrutiny
may be triggered by a law that imposes a burden. The Tatel Court reasoned in the alternative that
the plaintiffs had pled coercion because they “must either withdraw their children from the public
school or submit to [the teacher’s] advocacy.” 2023 WL 3740822, at *14 n.18. This reasoning
seems to find indirect coercion based on the pressure either to “submit to” indoctrination or
abandon a public education.


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suggested presented “a more significant claim.” Parker, 514 F.3d at 106. But the storybooks are

still a small subset of many books used in the MCPS English language arts curriculum; they are

not a “constant stream of like materials.” Id. Moreover, as in Parker, the School Board “imposes

no requirement that the student[s] agree with or affirm” the books’ views on the topics and

threatens no punishment if they refuse to do so. Id. To the contrary, it consistently has stated, “No

child, or adult, who does not agree with or understand another student’s gender identity or

expression of their sexual identity is asked to change how they feel about it.” ECF 1-5; ECF 43,

¶ 30; ECF 55-3, at 2 (suggesting teachers to respond to student religious objections by saying, “I

understand that is what you believe, but not everyone believes that” and “we don’t have to

understand a person’s identity to treat them with respect and kindness”). Even if one or two of the

suggested answers to possible student questions in the School Board’s guidance could be

interpreted to promote a particular view as correct, they are not required answers, and they are

outliers among the suggested answers that do not promote a particular view. ECF 55-3. And some

MCPS educators have expressed concerns about the more assertive suggested answers, suggesting

those responses are less likely to be used in the classroom. ECF 47-1, at 10. On the current record,

the plaintiffs have not shown that MCPS’s use of the storybooks crosses the line from permissible

influence to potentially impermissible indoctrination. Therefore, as in Parker, the Court need not

decide whether indoctrination burdens religious exercise.

       The plaintiffs contend the Morrisons’ daughter, at least, has a viable indoctrination claim.

Their daughter has Down Syndrome and Attention Deficit Disorder. She is enrolled in the

Learning for Independence Program, has an IEP, and qualifies for the full-time, one-on-one

assistance of a paraeducator. Morrison states her daughter’s learning disability prevents the child

from understanding or differentiating instructions from her teachers and her parents and renders




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her unable to understand how or why her parents disagree with the ideas presented in the

storybooks. As a result, Morrison states, it is practically impossible for Morrison and her husband

to contradict instruction the child receives at school that conflicts with the family’s religious

beliefs.

           The Morrisons are not named plaintiffs, and the Court questions whether Kids First has

standing to bring claims on their behalf. See Harris, 448 U.S. at 320–21; Cornerstone Christian

Schs., 563 F.3d at 133–34 (rejecting religious school’s claims of associational standing to bring

free exercise challenges on behalf of parents and students); 13A Charles A. Wright, Arthur R.

Miller & Edward H. Cooper, Fed. Prac. & Proc. § 3531.9.5 (3d ed.) (“Some substantive claims

may seem inherently so personal that individual participation should be required simply because

of the nature of the claim.”). Even if the Court were to assume the Morrisons’ claims are properly

presented, the Morrisons have not shown the use of the storybooks will result in their daughter’s

indoctrination. She may be uniquely vulnerable to indoctrination due to her neurodivergence, but

on the current record, the Morrisons still have not established that indoctrination is likely to occur.

The evidence suggests that, generally, MCPS teachers will occasionally read one of the handful of

books, lead discussions and ask questions about the characters, and respond to questions and

comments in ways that encourage tolerance for different views and lifestyles. That is not

indoctrination. That the Morrisons’ child cannot distinguish between what her parents and

teachers instruct does not convert the teachers’ instruction into indoctrination—nothing suggests

she will be pressured to affirm or agree with the views presented in the storybooks. Moreover, the

Morrisons have not offered evidence about how the books will be incorporated into the Learning

for Independence Program or whether the Morrisons have requested a modification to their




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daughter’s IEP to accommodate her disability as it relates to the storybooks. Based on the evidence

before the Court, the Morrisons are likely to succeed on an indoctrination claim. 10

       Separate from any indoctrination claim, Mahmoud and Barakat contend their son would be

forced to violate Islam’s prohibition of “prying into others’ private lives” and its discouragement

of “public disclosure of sexual behavior” if his teacher were to ask him to discuss “romantic

relationships or sexuality.” ECF 23-2, ¶ 17. Forcing a child to discuss topics that his religion

prohbits him from discussing goes beyond the mere exposure to ideas that conflict with religious

beliefs. But nothing in the current record suggests the child will be required to share such private

information. Based on the evidence of how teachers will use the books, it appears discussion will

focus on the characters, not on the students. See ECF 43, ¶ 30 (stating the books “are used to assist

students with mastering concepts like answering questions about characters, retelling key events

. . . and drawing inferences about story characters”); ECF 1-15, at 24 (same); ECF 1-5 (noting

“think-aloud moments” about what characters feel). While some instructional guidance seems to

encourage student introspection, none encourages students to share their personal experiences or

to discuss their or their families’ romantic relationships, gender identities, or sexuality. See ECF

55-3, at 3 (“Are you comfortable sharing your pronouns with me?”). Additionally, Mahmoud and

Barakat have not established the likelihood that prohibited conversations will occur. They do not

allege they have told their son’s teachers that his religion does not allow him to discuss prohibited

topics with others or that his teachers, when on notice that he cannot discuss these topics, will

pressure him to do so. Thus, the Court cannot conclude the child is likely to be coerced into

violating his beliefs in the manner identified by his parents.



10
  Even if Kids First has standing to bring a claim on behalf of the Morrisons and the Morrisons
could satisfy the standard for a preliminary injunction, the unique situation of one family would
not justify a broad injunction applicable to the individual plaintiffs and every Kids First member.


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       The sine qua non of a free exercise claim is coercion, and the plaintiffs have not shown the

no-opt-out policy likely will result in the indoctrination of their children or otherwise coerce their

children to violate or change their religious beliefs. “Public schools are not obliged to shield

individual students from ideas which potentially are religiously offensive, particularly when the

school imposes no requirement that the student” violate his or her faith during classroom

instruction. Parker, 514 F.3d at 106.

       The parents’ burden arguments, too, fall short. The parents assert that their children’s

exposure to the storybooks, including discussion about the characters, storyline, and themes, will

substantially interfere with their sacred obligations to raise their children in their faiths. The

Court’s analysis of the parents’ asserted burden is guided by Parker and the other circuit-level

cases, which the Court finds persuasive. Under these cases, the parents’ inability to opt their

children out of reading and discussion of the storybooks does not coerce them into violating their

religious beliefs. See Parker, 514 F.3d at 105–06; Fleischfresser, 15 F.3d at 690; Mozert, 827

F.2d at 1065–66. The parents still may instruct their children on their religious beliefs regarding

sexuality, marriage, and gender, and each family may place contrary views in its religious

context.11 No government action prevents the parents from freely discussing the topics raised in

the storybooks with their children or teaching their children as they wish. The no-opt-out policy




11
  The Morrisons, too, do not face any coercion to violate their sacred duty to raise their child in
their faith. Morrison states they cannot contextualize contrary ideas for their disabled daughter
because her disability prevents her from understanding the difference between what her parents
say and what her teachers say. But the no-opt-out policy does not prevent the Morrisons from
taking the action required by their religion—trying to teach their daughter their beliefs.



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does not prevent the parents from exercising their religious obligations or coerce them into

forgoing their religious beliefs. 12

        The plaintiffs argue this conclusion is inconsistent with Justice Alito’s concurrence in

Morse v. Frederick, which stated: “It is a dangerous fiction to pretend that parents simply delegate

their authority—including their authority to determine what their children may say and hear—to

public school authorities.” 551 U.S. 393, 424 (2007) (Alito, J., concurring). Morse involved a

free speech challenge to a school’s decision to punish a student for raising a controversial banner

at an off-campus, school-approved event. Id. at 396. In context, Justice Alito was reaffirming that

schools act as agents of the State and not private actors when they regulate student speech. See id.

(“When public school authorities regulate student speech, they act as agents of the State; they do

not stand in the shoes of the students’ parents.”). In the same paragraph, he observed that “[m]ost

parents, realistically, have . . . little ability to influence what occurs in the school[,]” undermining

the plaintiffs’ argument that Justice Alito intended to suggest parents’ have substantial control over

public-school curricula. Id. The Court’s findings here are not inconsistent with the holding in

Morse or Justice Alito’s concurrence.

        The plaintiffs further argue Parker, Mozert, and Fleischfresser are not persuasive and

should not be followed here. They argue first that, even if they remain free to teach their beliefs

to their children, their religious exercise is nonetheless burdened because the storybooks impede

their efforts to instill their religious beliefs in their children. In other words, they argue instruction




12
  The plaintiffs argue they will not know what to discuss with their children or when without
advance notice of when the storybooks will be read. But parents know the books are a part of the
English language curriculum and must be used in the classroom at some point during the upcoming
school year. They may read the books for themselves and decide whether, when, and how best to
address them with their children. Not receiving notice of the precise dates on which the books will
be read does not burden their religious exercise.


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that uses the storybooks will make it less likely they will accomplish their religious obligations to

raise their children in their faiths. Yet, they cite no case that has recognized a free exercise claim

based on government action that reduces the likelihood of meeting a sacred obligation. Such a

finding would seem to contravene the Supreme Court’s guidance that the Free Exercise Clause

cannot be used to “require the Government itself to behave in ways that the individual believes

will further his or her spiritual development or that of his or her family.” Bowen, 476 U.S. at 699.

It is not enough for a plaintiff to identify “the incidental effects of government programs, which

may make it more difficult to practice certain religions but which have no tendency to coerce

individuals into acting contrary to their religious beliefs[.]” Lyng, 485 U.S. at 450. “The crucial

word in the constitutional text is ‘prohibit’: ‘For the Free Exercise Clause is written in terms of

what the government cannot do to the individual, not in terms of what the individual can exact

from the government.’” Id. (quoting Sherbert, 374 U.S. at 412). With or without an opt-out right,

the parents remain free to pursue their sacred obligations to instruct their children in their faiths.

Even if their children’s exposure to religiously offensive ideas makes the parents’ efforts less likely

to succeed, that does not amount to a government-imposed burden on their religious exercise.

       The plaintiffs next argue that the no-opt-out policy is a form of indirect coercion, which

they claim Parker did not address. They contend the policy pressures them to choose between the

benefits of a public education and exercising their religious rights. Indirect coercion, as discussed

above, is substantial pressure short of an express command to modify one’s behavior or to violate

one’s beliefs. Such pressure may come from conditions on receiving public benefits, which courts

have found are analogous to fines. Certainly, public education is a valuable public benefit. And

many families cannot afford to send their children to private schools. But the benefit of a public

education in this case is not conditioned on any activity or abstention that violates the parents’




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religious beliefs. The no-opt-out policy does not pressure the parents to refrain from teaching their

faiths, to engage in conduct that would violate their religious beliefs, or to change their religious

beliefs. The policy may pressure them to discuss the topics raised by the storybooks with their

children, but those discussions are anticipated, not prohibited, by the parents’ faiths. The parents

are not pressured into violating their religious beliefs in order to obtain the benefits of a public

education.

       Third, the plaintiffs argue the Supreme Court’s decision in Yoder compels the conclusion

that the no-opt-out policy interferes with their rights to direct the religious upbringing of their

children and teach their religious views on topics central to their faiths. They claim the reading

and discussion of the storybooks will interfere with this right by encouraging their children to think

about and question their sexuality and gender identity, to focus prematurely on romantic

relationships, and to disregard religious teachings.

       Parker and Mozert are representative of how courts have viewed Yoder in cases

challenging curricula on free exercise grounds. The Sixth Circuit in Mozert noted “Yoder was

decided in large part on the impossibility of reconciling the goals of public education with the

religious requirement of the Amish that their children be prepared for life in a separated

community” and the threat to the Amish way of life and religious practice posed by the public-

school attendance requirement. 827 F.2d at 1067. It found no similar threat to the parents on the

facts before it because they wanted the benefits of a public education, albeit with greater control

over the curriculum, and because they did not claim their children’s exposure to the curriculum

would prevent them from practicing their religion. Id. The First Circuit in Parker likewise found

“substantial differences” between the parents’ claims and the claims in Yoder, covering much the

same ground as Mozert. 514 F.3d at 100. Unlike in Yoder, the parents in Parker had chosen to




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enroll their children in public school and made no claim of a distinct community and lifestyle

threatened by the curriculum. Id. They had not shown that “exposure to the materials in dispute”

would “automatically and irreversibly prevent [them] from raising [their children] in the religious

belief that gay marriage is immoral.” Id. By contrast, the continued education of the Amish

children in Yoder would have prevented their parents from raising their children in their separate

and distinct religious culture and lifestyle. Id. And, in both cases, the courts noted the parents had

legal alternatives to public school (private schools and homeschooling) that would satisfy their

religious concerns, whereas the Amish parents in Yoder did not. Id.; Mozert, 827 F.2d at 1067.

        The plaintiffs argue these readings of Yoder are too narrow and conflict with the Supreme

Court’s recent description of the parental right at issue in that case. They cite Espinoza v. Montana

Department of Revenue, in which parents challenged a state regulation that blocked private

religious schools from receiving funds from a state scholarship program. --- U.S. ----, 140 S. Ct.

2246, 2249 (2020). The majority in Espinoza noted that Yoder supported the Court’s longstanding

recognition of “the rights of parents to direct ‘the religious upbringing’ of their children.” Id. at

2261. Justice Gorsuch, writing in concurrence, stated “this Court has already recognized that

parents’ decisions about the education of their children . . . can constitute protected religious

activity.” Id. at 2276 (Gorsuch, J., concurring). And Justice Breyer, writing in dissent, noted “the

Free Exercise Clause draws upon a history that places great value upon the freedom of parents to

teach their children the tenets of their faith.” Id. at 2284 (Breyer, J., dissenting). In each instance,

Yoder is referred to in passing and at a high level of generality.

        Such stray statements offer limited guidance here, with facts that are a far cry from both

Yoder and Espinoza. Neither the majority, the concurrence, nor the dissent stated lower courts’

interpretations of Yoder in this context is incorrect or provided any analysis from which this Court




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may infer their dissatisfaction with those interpretations. At the same time, the plaintiffs offer no

analogous case to support their proposed application of Yoder to these facts. Even if the plaintiffs

are correct that the Supreme Court has never adopted the reading of Yoder followed by lower

courts in this context, the Court is persuaded to follow the persuasive authority in the absence of

any controlling authority to the contrary. Yoder is sui generis. The Supreme Court itself said as

much, anticipating few groups could match the Amish parents’ claims. The outcome in that case

turned on the Court’s findings that the Amish parents’ religious beliefs required them to live apart

from the modern world and that their children’s continued enrollment in school would destroy

their religious way of life. Thus, the statutory requirement that they send their children to school

on pain of criminal punishment coerced them to violate their religious beliefs. The plaintiffs here

do not and cannot make a similar claim.13

       “[A] violation of the Free Exercise Clause is predicated on coercion,” either direct or

indirect. Schempp, 374 U.S. at 223. The plaintiffs have not shown the no-opt-out policy likely

coerces them to violate their religious beliefs. Regardless of the wisdom of affording opt-outs in

these circumstances, the weight of existing authority is clear. The plaintiffs’ free exercise claims

are not likely to succeed on the merits.14




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   The plaintiffs argue distinguishing their claims from the Amish parents’ claims requires the
Court to engage in “doctrinal favoritism.” ECF 57, at 3. Not so. The Court’s analysis does not
turn on religious doctrine. It turns on whether the facts involve government coercion to violate
religious beliefs. In Yoder, they did; here, they do not.
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  Because the plaintiffs have not shown that the no-opt-out policy likely will burden their religious
exercise, the Court need not address whether the policy is neutral and generally applicable under
Fulton, Tandon, and Masterpiece/Lukumi.


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           2. Substantive Due Process

       The plaintiffs assert that the School Board’s refusal to allow parents to opt their children

out of reading and discussion of the storybooks infringes their right to direct their children’s

upbringing in violation of the Due Process Clause of the Fourteenth Amendment. They claim this

due process right is fundamental, triggering strict scrutiny.

       Under substantive due process jurisprudence, “courts examine whether government

intrusions into citizens’ liberties are justified by adequate state interests.” Herndon by Herndon v.

Chapel Hill-Carrboro City Bd. of Educ., 89 F.3d 174, 177 (4th Cir. 1996). “A substantive due

process challenge is considered under rational-basis review unless some fundamental right is

implicated.” Doe v. Settle, 24 F.4th 932, 953 (4th Cir. 2022) (citing Herndon, 89 F.3d at 177).

Fundamental rights are those “which are, objectively, deeply rooted in this Nation’s history and

tradition.” Hawkins v. Freemen, 195 F.3d 732, 739 (4th Cir. 1999) (quoting Washington v.

Glucksberg, 521 U.S. 702, 720–21 (1997)). “Critical to the ‘fundamental interest’ inquiry is the

requirement that it be conducted on the basis of a ‘careful description of the asserted fundamental

liberty interest.’” Id. (quoting Glucksberg, 521 U.S. at 720). In defining the asserted liberty

interest, courts must avoid “overgeneralization in the historical inquiry.” Id. at 747 (citing

Glucksberg, 521 U.S. at 722–23).

       In their complaint and preliminary injunction motion, the parents asserted a violation of

their substantive due process rights to direct the upbringing of their children, which they described

as “[s]eparate and apart from” their free exercise claims. ECF 23-1, at 31; see ECF 36, ¶¶ 262–

75. But in their reply brief and at oral argument, they characterized their due process rights as

concerning the religious upbringing of their children, blurring the line between their due process




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arguments and their free exercise arguments based on Yoder. See ECF 47, at 16. The Court

considers the asserted secular due process right and its religious variation, in turn.

        The “interest of parents in the care, custody, and control of their children [] is perhaps the

oldest of the fundamental liberty interests recognized by” the Supreme Court. Troxel v. Granville,

530 U.S. 57, 65 (2000). Nearly 100 years ago, the Court held that the “liberty” protected by the

Due Process Clause includes the right of parents “to control the education of their own,” Meyer v.

Nebraska, 262 U.S. 390, 401 (1923), and “to direct the upbringing and education of children under

their control,” Pierce v. Soc’y of Sisters, 268 U.S. 510, 534–35 (1925). Troxel, 530 U.S. at 65. In

the subsequent decades, the Court has addressed parents’ rights in different contexts, often using

broad language. See, e.g., id.; Glucksberg, 521 U.S. at 720 (noting the right “to direct the education

and upbringing of one’s children” under Meyer and Pierce); Stanley v. Illinois, 405 U.S. 645, 651

(1972) (“The rights to conceive and to raise one’s children have been deemed ‘essential,’ ‘basic

civil rights of man,’ and ‘[r]ights far more precious . . . than property rights[.]’”) (citations omitted).

Relying on these cases, the parents argue the right to control the upbringing of their children is

fundamental.15

        There is no doubt parents have substantial rights under the Due Process Clause, but the

Court still must define the specific right at stake with granularity. Hawkins, 195 F.3d at 747.

Indeed, “‘[a]lthough the Supreme Court has never been called upon to define the precise




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  The plaintiffs cite several other cases that have no clear application to the facts of this case. See,
e.g., Mahanoy Area Sch. Dist. v. B.L. ex rel. Levy, --- U.S. ----, 141 S. Ct. 2038, 2043–44 (2021)
(concerning a school’s regulation of off-campus speech); Troxel, 530 U.S. at 60–63 (concerning
parents’ control over visitation rights for their children); Edwards v. Aguillard, 482 U.S. 578, 584
(1987) (concerning school’s adoption of a religious curriculum in violation of the Establishment
Clause); Stanley, 405 U.S. at 646–47 (concerning unwed father’s custodial rights); Gruenke v.
Seip, 225 F.3d 290, 295 (3d Cir. 2000) (concerning parents’ rights to learn and control the
disclosure of information about their daughter’s pregnancy).


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boundaries of a parent’s right to control a child’s upbringing and education,’ it is clear that the

right is neither absolute nor unqualified.” Bailey v. Va. High Sch. League, Inc., 488 F. App’x 714,

716 (4th Cir. 2012) (unpublished per curiam) (collecting cases) (quoting C.N., 430 F.3d at 182).

The Court has noted, for example, that there is “no support [for] the contention that parents may

replace state educational requirements with their own idiosyncratic views of what knowledge a

child needs to be a productive and happy member of society.” Runyon v. McCrary, 427 U.S. 160,

177 (1976). And in several cases, the Court has expressly adopted a narrow reading of Meyer and

Pierce. Id. (describing the rights established in Meyer and Pierce as protecting “the subject matter

. . . taught at . . . private school” and the right to send children to private school); Norwood v.

Harrison, 413 U.S. 455, 462 (1973) (finding Pierce “affirmed the right of private schools to exist

and operate” and “said nothing of any supposed right of parochial schools” to state funding); see

also Leebaert v. Harrington, 332 F.3d 134, 140–41 (2d Cir. 2003) (holding “Meyer, Pierce, and

their progeny do not begin to suggest the existence of a fundamental right of every parent to tell a

public school what his or her child will and will not be taught”). So, while parents have the right

to “control the education of their own” and “to direct the upbringing and education of children

under their control,” the existence of those rights does not require the application of strict scrutiny

every time parents assert authority over a child’s education. Herndon, 89 F.3d at 179; see also

Blau v. Fort Thomas Pub. Sch. Dist., 401 F.3d 381, 395 (6th Cir. 2005) (“While parents may have

a fundamental right to decide whether to send their child to a public school, they do not have a

fundamental right generally to direct how a public school teaches their child.”).

       The controlling Fourth Circuit authority regarding parental control over a child’s public

education is Herndon by Herndon v. Chapel Hill-Carrboro City Board of Education, 89 F.3d 174

(4th Cir. 1996). Herndon involved a substantive due process challenge by parents to a public




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school’s community service requirement. Id. at 176–77. The challenge was not motivated by

religious objections. Id. at 179. After discussing the relevant Supreme Court cases, including

Meyer, Pierce, and Yoder, the court summarized:

       [T]he Supreme Court has stated consistently that parents have a liberty interest,
       protected by the Fourteenth Amendment, in directing their children’s schooling.
       Except when the parents’ interest includes a religious element, however, the Court
       has declared with equal consistency that reasonable regulation by the state is
       permissible even if it conflicts with that interest. That is the language of rational
       basis scrutiny.

Id. Because the plaintiffs conceded “their interest [was] not religious,” the court applied rational

basis review to the service requirement. Id. Thus, Herndon stands for the proposition that the

parental right to direct a child’s education is not fundamental unless it includes a religious element.

To the extent the parents’ substantive due process claims are premised on a secular liberty interest,

they do not assert a fundamental right, and their claims are subject to rational basis review.

       The plaintiffs do not address this holding in Herndon. Instead, they emphasize the religious

nature of their opposition to the storybooks. They argue that, under Herndon, whenever a due

process claim involves both a parent’s right to direct their child’s education and free exercise

concerns, as is the case here, strict scrutiny automatically applies. They see support for such a rule

in Herndon’s statement that the Supreme Court had applied rational basis review “[e]xcept when

the parents’ interest includes a religious element” and its subsequent discussion of Yoder, which it

described as having “reaffirmed that parental rights are among the liberties protected by the

Constitution.” 89 F.3d at 178. The court continued, “When those rights combine with First

Amendment free exercise concerns, the [Yoder] Court held, they are fundamental[.]” Id. (citing

Yoder, 406 U.S. at 232).

       There are several problems with the plaintiffs’ reading of Herndon. First, Herndon did not

involve any free exercise concerns, so the court had no cause to adopt such a broad rule. Its



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description of Yoder is dicta, and it would be strange indeed if the court fundamentally rewrote its

constitutional jurisprudence in a single sentence when its holding did not depend on such a

revision. Second, when the court discussed Yoder, it wrote descriptively. It observed the parents’

rights asserted in Yoder were fundamental for the reasons stated in Yoder. It did not extend Yoder’s

holding beyond its unique facts. Neither Yoder nor the Fourth Circuit’s interpretation of Yoder in

Herndon holds that a parent’s right to direct their children’s upbringing automatically rises to the

level of a fundamental right whenever the parent’s interest includes a religious element.

        At oral argument, the plaintiffs proposed another reading of Herndon that they believe

warrants the application of strict scrutiny to the no-opt-out policy. They suggested Herndon

indicated the Fourth Circuit would be open to so-called “hybrid-rights” claims, in which two

constitutional rights violations are based on the same set of facts. The concept of hybrid-rights

claims originated in Smith. 494 U.S. at 881–82. Smith’s central holding was that the Free Exercise

Clause “does not relieve an individual of the obligation to comply with” neutral and generally

applicable laws. Id. at 879. In discussing that rule, the Court observed that “the only decisions in

which we have held that the First Amendment bars application of a neutral, generally applicable

law to religiously motivated action have involved not the Free Exercise Clause alone, but the Free

Exercise Clause in conjunction with other constitutional protections[.]” Id. at 881–82. The Court

included Pierce and Yoder on its list of “hybrid” cases to which its general rule did not apply. Id.

        “Whether and how to apply the hybrid-rights exception described in Smith have been the

subject of much debate and disagreement among the circuit courts of appeal and academic

commentators” since Smith’s publication. Hicks, 93 F. Supp. 2d at 659. Over the years, several

justices have expressed skepticism about the hybrid-rights doctrine. Most recently, Justice Alito

stated in his concurrence in Fulton, “[I]t is hard to see the justification for this curious doctrine . . .




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such a scheme is obviously unworkable and has never been recognized outside of Smith.” 141 S.

Ct. at 1915 (Alito, J., concurring). Justice Alito also suggested “the hybrid-rights exception would

largely swallow up Smith’s general rule” because “a great many claims for religious exemptions

can easily be understood as hybrid free-exercise/free-speech claims.” Id. But see Danville

Christian Academy, Inc. v. Beshear, --- U.S. ----, 141 S. Ct. 527, 529 (2020) (Gorsuch, J.,

dissenting) (“[U]nder this Court’s precedents, even neutral and generally applicable laws are

subject to strict scrutiny where a plaintiff presents a ‘hybrid’ claim—meaning a claim involving

the violation of the right to free exercise and another right, such as the right of parents ‘to direct

the education of their children.’”).

        Herndon cannot be read to endorse a hybrid-rights theory. Beyond the fact that Herndon

was not itself a hybrid-rights case and did not expressly refer to the concept, the Fourth Circuit

more recently has confirmed that it has not taken a stance on the topic. See Workman v. Mingo

Cnty. Bd. of Educ., 419 F. App’x 348, 353 (4th Cir. 2011) (unpublished table opinion) (“We

observe that there is a circuit split over the validity of this ‘hybrid-rights’ exception. However, we

do not need to decide this issue here . . . .”). The Court does not read Herndon to require strict

scrutiny anytime a plaintiff challenges a public-school curriculum based on both parental and

religious rights.

        Without Fourth Circuit guidance on when strict scrutiny is required in such cases, the Court

looks outside the circuit. Notably, as of 2008, “[n]o published circuit court opinion . . . ha[d] ever

applied strict scrutiny to a case in which plaintiffs argued they had presented a hybrid claim.”

Parker, 514 F.3d at 98. That observation remains true today. Three circuits have expressly

rejected the hybrid-rights theory. See Combs v. Homer-Center Sch. Dist., 540 F.3d 231, 244–47

(3d Cir. 2008); Leebaert v. Harrington, 332 F.3d at 143–44; Kissinger v. Bd. of Trs. of Ohio St.




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Univ., Coll. of Veterinary Med., 5 F.3d 177, 180 (6th Cir. 1993). The circuits that have not rejected

the theory have held that the component claims must be, at least, colorable. See 303 Creative LLC

v. Elenis, 6 F.4th 1160, 1188 (10th Cir. 2021), rev’d on other grounds, --- U.S. ----, 143 S. Ct.

2298 (2023); Henderson v. McMurray, 987 F.3d 997,1005–07 (11th Cir. 2021); Parents for

Privacy v. Barr, 949 F.3d 1210, 1237–38 (9th Cir. 2020); Cornerstone Christian Schs., 563 F.3d

at 136 n.8; Parker, 514 F.3d at 97–99; Civil Liberties for Urban Believers v. Chicago, 342 F.3d

752, 764–65 (7th Cir. 2003). “Colorable” in this context means likely to succeed on the merits.

Parents for Privacy, 949 F.3d at 1237.16

       In the absence of persuasive authority to the contrary, the Court will not adopt a lower

standard. Any hybrid-rights claim, if such a claim is cognizable at all, does not warrant strict

scrutiny here because the plaintiffs’ free exercise claims are not likely to succeed on the merits.

The Court concludes the plaintiffs’ asserted due process right to direct their children’s upbringing

by opting out of a public-school curriculum that conflicts with their religious views is not a

fundamental right. Rational basis review is the appropriate level of scrutiny.

       Rational basis review “requires only that the [challenged state action] be shown to bear

some rational relationship to legitimate state purposes.” Herndon, 89 F.3d at 177 (quoting San

Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1, 37–40 (1973)); see also Bethel World Outreach

Ministries v. Montgomery Cnty. Council, 706 F.3d 548, 561 (4th Cir. 2013). The plaintiffs do not

dispute the no-opt-out policy would survive rational basis review. Indeed, the policy serves the

School Board’s legitimate interest in “[f]oster[ing] social integration and cultural inclusiveness of

transgender and gender nonconforming students” by ensuring all MCPS students are exposed to



16
  At least one district court in this circuit has applied strict scrutiny to a hybrid-rights claim that
involved colorable free exercise and substantive due process claims. See Hicks, 93 F. Supp. 2d at
657–63.


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inclusive and representative instructional materials. See ECF 42-7, at 4; ECF 43, ¶ 6. It also helps

prevent students who identify with characters in the storybooks from feeling stigmatized or

discriminated against when other students leave the room when the books are read, furthering the

School Board’s interests in providing a safe and supportive learning environment for its students,

protecting LGBTQ students’ health and safety, and complying with anti-discrimination laws. ECF

43, ¶ 39.

          The plaintiffs are not likely to succeed on their substantive due process claim.

          B. The Remaining Preliminary Injunction Factors

          Because the plaintiffs have not established any of their claims is likely to succeed on the

merits, the Court need not address the remaining preliminary injunction factors. Nonetheless,

because a constitutional violation is not likely or imminent, it follows that the plaintiffs are not

likely to suffer imminent irreparable harm, and the balance of the equities and the public interest

favor denying an injunction to avoid undermining the School Board’s legitimate interests in the

no-opt-out policy. See Leaders, 2 F.4th at 346.

IV.       Injunction Pending Appeal

          At the hearing on the preliminary injunction motion, the plaintiffs made an oral motion for

a stay pursuant to Rule 8(a)(1) of the Federal Rules of Appellate Procedure if the Court were to

deny their motion. That rule requires that a “party ordinarily move first in the district court for . . .

a stay of the judgment or order of a district court pending appeal.” Fed. R. App. P. 8(a)(1)(A).

There is no judgment or order of this Court to be stayed. The Court construes the plaintiffs’ motion

as a request for an injunction pending appeal under Federal Rule of Civil Procedure 62(d). 17 The

standard for injunctive relief pending appeal is the same as for a preliminary injunction. See Nken,



17
     Fed. R. App. P. 8(a)(1)(C) requires parties to move for such relief first in the district court.


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556 U.S. at 434; Goldstein v. Miller, 488 F. Supp. 156, 171–72 (D. Md. 1980). This is so “because

similar concerns arise whenever a court order may allow or disallow anticipated action before the

legality of that action has been conclusively determined.” Nken, 556 U.S. at 434.

       The plaintiffs seek the same relief pending appeal as in their preliminary injunction motion:

an injunction that requires the Board to provide advance notice and opt-outs from instruction

involving the storybooks and family life and human sexuality. For the reasons stated in this

opinion, the Court cannot conclude the plaintiffs are likely to succeed on the merits of an appeal.

The plaintiffs’ request for a preliminary injunction pending appeal is denied.

V.     Conclusion

       The plaintiffs have not established the requirements for a preliminary injunction. Their

motion is denied. Their request for an injunction pending appeal is denied. A separate Order

follows.


Date: August 24, 2023
                                                             Deborah L. Boardman
                                                             United States District Judge




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